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tr          Kari Bowyer         P.O. Box 700096           San Jose, CA 95170
aty         John D. Fiero        Pachulski, Stang, Ziehl, and Jones         150 California St. 15th Fl.       San Francisco, CA
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            942879         Sacramento, CA 94279
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smg         CA Franchise Tax Board           Attn: Special Procedures         P.O. Box 2952          Sacramento, CA 95812−2952
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14498477 2000 New Resolutions LLC               257 N. Battin Street        Wichita, KS 67208
14498478 209 Technologies            P.O. Box 2040          Boulder Creek, CA 95006
14498479 2XL            212 Railroad Ave.         Milpitas, CA 95035
14498480 3700 Bigelow Boulevard LLC                c o Thomas Kopff, Managing Member              66 Sherwood
            Road         Ridgewood, NJ 07480−1320
14498481 3D−Micromac AG                Technologie−Campus 8            Chemnitz, Germany,
14498482 3M Purification, Inc.           PO Box 844897           Dallas, TX 75284
14498483 40 Hrs Staffing          1669 Flanigan Dr.          San Jose, CA 95121
14498484 49 Vector Investments LLC              c o Nishant B. Jalandhara         1940 Champion Hills Drive          Reno, NV
            89523
14498485 ABM Electrical Power Services               6940 Koll Center Parkway Suite 100           Pleasanton, CA 94566
14498486 ACE Jerneh Insurance Berhard               38 Jalan Sultan Ismail 50250         Juala Lumpur, Malaysia aysia,
14498487 ACME Roofing Services Inc               572 Rosewood Ct.          Los Banos, CA 93635
14498488 ACP Composites              78 Lindbergh Avenue           Livermore, CA 94551
14498489 ACSBNY Mellon HSA Solution                   PO Box 535416          Pittsburgh, PA 15253
14498490 ADP            820 N. McCarthy Boulevard,            Milpitas, CA 95035
14498491 AED Superstore            1800 US Hwy 51             N Woodruff, WI 54568
14498492 AED Superstore − Sales & Use               1800 US−51,          Woodruff, WI 54568
14498493 AERONET               PO BOX 17239            Irvine, CA 92623
14498494 AGC Electronics America               4375 NW 235th Avenue            Hillsboro, OR 97124
14498495 AIS Automation             Otto−Mohr−Stra e 6,          Dresden, Germany 01237−0000,
14498496 AJU KIM CHANG &LEE                    12−12TH FLOOR GANGNAM MIRAE TOWER 174 SA                           Seoul, South
            Korea,
14498497 AJWC LTD              13910 Bluff Wind           San Antonio, TX 78216
14498498 AJWC LTD              c/o Dr. William Wu           13910 Bluff Wind          San Antonio, TX 78216−7915
14498499 AMPRO Plastic Products, Inc.              PO BOX 745           Newman, CA 95360
14498500 AR Environmental Consulting               P.O. Box 1403         Los Altos, CA 94023
14498501 ASM Assembly System GmbH                   PO Box 24336          Pasadena, CA 91185
14498502 AT&T             PO Box 5019           Carol Stream, IL 60197
14498503 AT&T Mobility             PO Box 6463           Carol Stream, IL 60197
14498504 Aaron Thurlow            1264 Mills St.         Menlo Park, CA 94025
14498505 Able Glass Company               850 Aldo Avenue          Santa Clara, CA 95054
14498506 Abramson, William              4820 Bridgewater Rd.          Birmingham, AL 35243
14498507 Abrisa Technologies             200 S Hallock Drive         Santa Paula, CA 93060
14498508 Abstraction Engineering             19072 Taylor Ave.         Morgan Hill, CA 95037
14498509 Ace Fire Equipment & Service Co., Inc.              PO Box 1142          Palo Alto, CA 94302
14498510 Adam Froimovitch              379 S. Bernardo         Sunnyvale, CA 94086
14498511 Adams, William             3600 Gramercy Street          Houston, TX 77025
14498512 Adobe Sign            345 Park Avenue           San Jose, CA 95110
14498513 Advanced Chemical Transport               1210 Elko Dr.         Sunnyvale, CA 94089
14498514 Advanced Laser and Waterjet Cutting               820 Comstock Street         Santa Clara, CA 95054
14498515 Advantage Converting              959 Terminal Way           San Carlos, CA 94070
14498516 Aggreko            P.O Box 972562           Dallas, TX 75397
14498517 Air Liquide − Balazs Nanoanalysis              O Box 301046          Dallas, TX 75303
14498518 Air Liquide America Specialty Gases              Box 301046          Dallas, TX 75303
14498519 Air Products & Chemicals, Inc.             BOX 935430           Atlanta, GA 31193−5430
14498520 AirClean Systems             2179 East Lyon Station Road          Creedmoor, NC 27522
14498521 Airgas NCN             PO Box 7423           Pasadena, CA 91109
14498522 Akrion Systems            6330 Hedgwood Dr. Suite 150            Allentown, PA 18106
14498523 Akzo Nobel Functional Chemical S&U                 P.O Box 742582          Atlanta, GA 30374
14498524 Alhadeff, Joseph           3101 New Mexico Avenue, NW, 539                Washington, DC 20016
14498525 Alliance Occupational Medicine              2737 Walsh Ave.          Santa Clara, CA 95051
14498526 Allied Construction Services            7602 National Drive         Livermoore, CA 94550
14498527 Allied High Tech Products, Inc.             2376 East Pacifica Place P.O. Box 4608          Rancho Dominquez, CA
            90220
14498528 Alltizer, Andrew           53 Diablo Creek Pl.         Danville, CA 94506
14498529 Almaden            639 Qinglong East Road Tianning            Changzhou, China
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14498530   Alrdidge, James          49 Church Lane            Scarsdale, NY 10583
14498531   Alton Donald Sands           15 Maple Avenue              Jamestown, RI 02835
14498532   American Beauty Soldering Tools               1177 West Maple Road             Clawson, MI 48017
14498533   American Estate Trust, Fbo: David J. D              606 Pleasant Avenue           Glen Ellyn, IL 60137
14498534   American Express           200 Vesey Street,           New York, NY 10285
14498535   American Pacific Cargo Inc.            880 Mitten Rd. Suite 110            Burlingame, CA 94010
14498536   American Precision Dicing Inc.             642 Giguere Ct.          San Jose, CA 95133
14498537   Amerigas         1155 N. 15th Street            San Jose, CA 95112
14498538   Amphenol Corporation             Fu'an 2nd Ind Park, Dayang Rd Fuyong,              Shenzhen, China 00051−8103,
14498539   Anbalagan, Pranav           Plot#22, Sarojini St           Rajarajeswari Nagar         Madhanandapuram, Chennai
           600116
14498540   Andrew Jackson Aura Jackson, JTWROS                   3294 S. 104th Avenue           Omaha, NE 68124
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14498542   Andy L. Lin         69 Silva Place            Santa Clara, CA 95054
14498543   Ansbacher, Jonathan           71 Birch Lane           Massapequa Park, NY 11762
14498544   Applied Construction Technology               1230 Oakmead Parkway, Suite 216              Sunnyvale, CA 94085
14498545   Applied Laser Solutions, Inc            3360 Edward Avenue             Santa Clara, CA 95054
14498546   Applied Materials Inc. − USA             PO Box LA 21161             Pasadena, CA 91185
14498547   Applied Materials, Inc.          Italia Srl. Via Postumia, Ovest 244           Olmi Di S. Biagio di C., Italy
           31048−000
14498548   Apricum GmbH             Spittelmarkt 12 10117             Berlin, Germany,
14498549   Aquiline Construction, Inc.           71 Ocean Ave.            Monterey, CA 93940
14498550   Arc Best        2135 Otoole Ave.             San Jose, CA 95131
14498551   Areias Systems, Inc.          5900 Butler Lande, Ste280             Scotts Valley, CA 95066
14498552   Arena Solutions, Inc.          989 E. Hillsdale Blvd. Suite 250           Foster City, CA 94404
14498553   Arlon LLC − Rogers Corporation                PO Box 202369           Dallas, TX 75320
14498554   Arnecke Sibeth          Am Brauhaus 1             Dresden, Germany 01099−0000,
14498555   Arnold Thompson            11 Wawona Street             San Francisco, CA 94127
14498556   Asana Holdings, LLC             1482 E. Valley Road, 617            Montecity, CA 93108
14498557   Asana Holdings, LLC             Attn John H. Perry           II 1482 E. Valley Road, 617          Montecity, CA 93108
14498558   Asana Holdings, LLC             Attn John H. Perry           III 1482 E. Valley Road, 617          Montecito, CA 93108
14498559   Ashland Conveyor Products              1919 Cellar Drive           Ashland, OH 44805
14498560   Asys Group          140 Satellite Blvd NE Suite D              Suwanee, GA 30024
14498561   Atlas Copco Compressors LLC                48434 Milmont Drive            Fremont, CA 94538
14498562   Atlas Weathering Services Group               45601 North 47th Ave.          Phoenix, AZ 85087
14498563   Automatic Vending            30970 Huntwood Suite 306               Hayward, CA 94544
14498564   Automation Direct          3505 Hutchinson Rd.              Cumming, GA 30040
14498565   Avraham Tahari Susan Tahari, JWROS                  1141 Buckingham Road             Fort Lee, NJ 07024−6441
14498566   Awadalla, Hany           101 W. 24 St., Apt. PH1A              New York, NY 10011
14498567   BART Manufacturing              585 Emory Street            San Jose, CA 95110
14498568   BASF Corporation           100 Park Avenue              Florham Park, NJ 07932
14498569   BTG Labs          5129 Kieley Place             Cincinnati, OH 45217
14498570   BTU International          P.O. Box 847065             Boston, MA 02284
14498571   Baiju Gohil        1 Cumberlamd CT               Huntington, NY 11743
14498572   Bandgap Engineering, Inc.c/o Kallander G               282 Central Street, Unit 9         Hudson, MA 01749
14498573   Bao Ton         1812 Kyra Circle             San Jose, CA 95122
14498574   Barlow, John         103 Virginia Place            Longview, WA 98632−5451
14498575   Barrday Composite Solution             P.O Box 931893             Hapeville, GA 31193
14498576   Barrett, Raymond Todd             4930 Wintergreen Lane             Carmel, IN 46033
14498577   Barry D. Chandler & Diane E. Chandler, J               10080 150th Court North           Jupiter, FL 33478
14498578   Barry Donner          6 Via Senna            Dana Point, CA 92629
14498579   Bay Advanced Technologies, LLC.                PO Box 79422            City of Industry, CA 91716
14498580   Bay Alarm Company              P.O Box 7137            San Francisco, CA 94120
14498581   Bay Area Air Quality Mgmt Dist.               939 Ellis Street       San Francisco, CA 94109
14498582   Bay Area Atlas Machine Shop               2422 Howard Avenue             San Carlos, CA 94070
14498583   Bay Area Backflow, Inc.            290 Nagareda Drive, Unit 5            Gilroy, CA 95020
14498584   Bay Area Builders, Inc.           3360 De La Cruz Blvd.            Santa Clara, CA 95054
14498585   Bay Area Circuits, Inc.          44358 Old Warm Springs Boulevard                Fremont, CA 94538
14498586   Bay Area Electric         322 Lindbergh Ave              Livermore, CA 94550
14498587   Bay City Scale, Inc         25352A Cypress Ave.               Hayward, CA 94545
14498588   Bay Materials, LLC           48450 Lakeview Blvd               Fremont, CA 94538
14498589   Bay Rubber Company              404 Pendleton Way             Oakland, CA 94621
14498590   Bay Seal Company, Inc.             1550 West Winton Ave             Hayward, CA 94545
14498591   Beaver & Associates           1303 S. Gibson Ct.            Superior, CO 80027
14498592   Beck's Shoes, Inc.         Attn: Accounts Receivable 354 E. McGlinc                Campbell, CA 95008
14498593   Bekman, Paul          26 Caveswood Lane              Owing Mills, MD 21117−6511
14498594   Belfiglio, Jeff       12629 NE 2nd Street             Bellevue, WA 98005−3206
14498595   Belfiglio, Lee Evan         12629 NE 2nd Street              Bellevue, WA 98005−3206
14498596   Bell Plastics       2020 National Avenue              Hayward, CA 94545
14498597   Ben Rattle        4505 Duval St. #153             Austin, TX 78751
14498598   Bender, Joan         10 Pond Gut Rd.             Pleasant Valley, NY 12569−7537
14498599   Bernstein, Sheryl         5703 Buffalo Ave.            Valley Glen, CA 91401−4508
14498600   BesTeck Manufacturing             2150 Del Franco St.            San Jose, CA 95131
14498601   Bi Optic Incorporated           3004 Lawrence Expressway              Santa Clara, CA 95051
14498602   Big Joe California North, Inc.           25932 Eden Landing Rd             Hayward, CA 94545
14498603   Bisco Industries         1927 Hartog Drive            San Jose, CA 95131
14498604   Bittele Electronics Inc.         250 Consumers Road, Suite 400              N. York, Ontario, Canada M2J4V6,
14498605   Black & Veatch Management Consulting, LL                   11401 Lamar Ave Overland            Park, KS 66211
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14498606   Blair−Gordon Associates           5100 B−1 Clayton Road, Suite 177             Concord, CA 94521
14498607   Board of Equalization         PO Box 942879             Sacramento, CA 94279
14498608   Borkowski, Kevin           17143 Harcombe Drive            Charlotte, NC 28277
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14498611   Brad Voss         10710 N. La Qunita Dr.           Ora Valley, AZ 85737
14498612   Braen, Dirk        451 Weymouth Drive             Wycoff, NJ 07481
14498613   Braen, Joshua         670 Laurel Lane         Wycoff, NJ 07481
14498614   Brandlift       11 Meadowcrest Rd.            Radnor, PA 19087
14498615   Bressler Group         1216 Arch Street Floor 7           Philadelphia, PA 19107
14498616   Brian Dallaire Revocable Trust         1 Davis Drive           Biddeford, ME 04005
14498617   Brian L. Heckler         1200 Judson Avenue            Evanston, IL 60202
14498618   Brody, Scott A.         334 Crescent Ave          Wycoff, NJ 07481
14498619   Brookwood RB Investors, LLC             PO Box 844294            Los Angeles, CA 90084
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14498623   Buchanan Automation            P.O. Box 1249 1920 Bickford Avenue              Snohomish, WA 98291
14498624   Buhler Alzenau GmbH            Business Area Leybold Optics Siemensstra             Alzenau, Germany 63755−0000,
14498625   Buhler Inc.        28064 Network Place            Chicago, IL 60673
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14498627   Burt Alper        PO Box 3677          Oakland, CA 94609
14498628   Burton, Dr. Larry         2714 27th Street, NW           Washington, DC 20008
14498629   Bush, Bruce         300 Garden Grove Way              Coppell, TX 75019
14498630   Bush, Richard         3525 Walworth Road             Marion, NY 14505−9337
14498631   Business Computer Associates LLC             39120 Argonaut Way, #354             Fremont, CA 94538
14498632   Business Telephone eXchange, Inc.           929 Berryessa Rd. #10            San Jose, CA 95133
14498633   C C Steven and Associates, Inc.         1363 Donlon Street, Suite 12           Ventura, CA 93003
14498634   C. Vance Hendrickson Pamela M. Hendric               1553 N. Main Street          MT. Pleasant, TN 38474−4021
14498635   CAE         1600 Seaport Blvd. Suite #300            Redwood City, CA 94063
14498636   CAEATFA            915 Capital Mall, Room 457             Sacramento, CA 95814
14498637   CALSEIA           1107 9th. St. Ste. 820         Sacramento, CA 95814
14498638   CBRE, Inc.         P.O BOX 740935 Location Code 2142                Los Angeles, CA 90074
14498639   CDA Systems           2456 Research Drive,            Livermore, CA 94550
14498640   CH2M Hill Engineers, Inc.           2020 SW Fourth Ave. 3rd.            Portland, OR 97201
14498641   CJiChi        717 E. Cambridge Ave.            Fresno, CA 93704
14498642   CMC Master Fund, L.P.            c o CM Capital Advisors, LLC            525 University Avenue, Suite 200       Palo
           Alto, CA 94301
14498643   CNA Insurance           PO Box 790094           St. Louis, MO 63179
14498644   CPP, Inc.        2400 Midpoint Dr. Unit 190            Fort Collins, CO 80525
14498645   CREATIVE ENGINEERING SOLUTIONS PTE LTD                            65 CHULIA STREET             OCBC Centre,
           Singapore,
14498646   CalPack Crating          4700−B Horner Street #B            Union City, CA 94587
14498647   California Department of Corporations           One Sansome Street, Suite 600           San Francisco, CA 94104
14498648   California State Disbursement Unit          PO Box 989067             West Sacramento, CA 95798
14498649   California Vacuum System            18675 Adams Court Suite L.            Morgan Hill, CA 95037
14498650   Callaway Private Equity Partners, Inc.          1252 Montgomery St.           San Francisco, CA 94133
14498651   Canaras, LLC          c o S. Weill Independent Family Office           P.O. Box 3977         Albany, NY 12203
14498652   Carney, Daniel         257 N. Battin Street         Wichita, KS 67208−4332
14498653   Carrier       Corporation 600 McCormick Street Suite B               San Leandro, CA 94577
14498654   Carter, Dana Pierce         330 Seameadow Drive             Portsmouth, RI 02871−3934
14498655   Cartridge World Milpitas          379 Jacklin Road          Milpitas, CA 95035
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14498657   Catherine Ng         PO Box 103          Union City, CA 94587
14498658   Cavalieri, Nick        5265 Leydorf Ln.           Westerville, OH 43082−8878
14498659   Centrotherm         400 S Pearl St,        Albany, NY 12202
14498660   Century Roof & Solar          23135 Saklan Rd.            Hayward, CA 94545
14498661   Cerf, Charles        2127 California Street NW, #804            Washington, DC 20008
14498662   Ceridian Benefit Services         P.O. Box 10989           Newark, NJ 07193
14498663   Chang Tsi & Partners          6−8th Floor, Tower A, Hundred Island Par             Beijing, China 00010−0044,
14498664   Charbonneau, Randy           740 Ventura Way             Marshall, MI 49068−9657
14498665   Charles C. Farmer Patricia B. Farmer,          13002 North 1st Place          Phoenix, AZ 85002
14498666   Charles Hill        8700 Big View Drive            Austin, TX 78730
14498667   Charles K. Eby Trust         1813 N. Cranbrook Circle            Wichita, KS 67026
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14498669   Charmin Trust, Robert P. Komin Jr. Cha             119 Selby Lane         Atherton, CA 94027
14498670   ChemTrace (Metron/Applied Materials)              1900 AM Drive, Ste 200           Quakertown, PA 18951
14498671   Chemical Safety Technology, Inc           2461 Automnvale Dr.            San Jose, CA 95131
14498672   Chi Hoang         2891 Agua Vista Dr.           San Jose, CA 95132
14498673   Chip Test Solutions         742 San Aleso           Sunnyvale, CA 94085
14498674   Christ, Thomas         Muehlenberg 1           Basel 04052          Switzerland
14498675   Christa Frasier        Fraser 310 E. 26th St.         Merced, CA 95340
14498676   Christenson, Charles         34 Sycamore Avenue             Bridgewater, NJ 08807
14498677   Christopher H. Paskach Living Trust Date             1643 2nd Street        Manhattan Beach, CA 90266
14498678   Chubb         and Son A Division of Federal Insurance            Palatine, IL 60055
14498679   Cimetrix        6979 High Tech Drive            Salt Lake City, UT 84047
14498680   Cintas       Corporation PO BOX 631025                Cinicinnati, OH 45263
14498681   City of Milpitas        455 E. Calaveras Blvd.           Milpitas, CA 95035
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14498682   City of Milpitas (utility)         PO Box 7006           San Francisco, CA 94120
14498683   City of San Jose          200 E. Santa Clara St. 7th Fl.         San Jose, CA 95113
14498684   CivicSolar        582 Market St. Suite 1300             San Francisco, CA 94104
14498685   Claude A. Wyle           275 Battery St.., Ste 1,300          San Francisco, CA 94111
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14498688   Clean−Lines Design             3350 Scott Blvd. Suite 58−2          Santa Clara, CA 95054
14498689   Cleanpart SET, Inc.           631 International Parkway Suite 200           Richardson, TX 75081
14498690   Cloud Ready          39488 Stevenson Place, Suite 100             Fremont, CA 94539
14498691   Code Environmental Services, Inc.             c o Tomassetti Abramo           400 Middlesex Avenue           Carteret, NJ
           07008
14498692   Coherent Inc         Bank of America Lockbox Services File 57               Los Angeles, CA 90074
14498693   Cole Parmer         13927 Collections Drive             Chicago, IL 60693
14498694   Colorado School of Mines             1500 Illinois St.       Golden, CO 80401
14498695   Columbus Customhouse Broker                6800 Lauffer Rd. Bldg C           Columbus, OH 43231
14498696   Com−Ten Industries             6405 49th Street North          Pinellas Park, FL 33781
14498697   Comerica Credit Card             1601 Elm St #100,          Dallas, TX 75201
14498698   Comfort International Inc.           2570 North First Start Floor 2         San Jose, CA 95131
14498699   Comm USA            2229 Enterprise St.           Escondido, CA 92029
14498700   Complete Probe Solutions, Inc.            9175 Crest Hill Ct.         Gilroy, CA 95020
14498701   Computer Packages, Inc.             414 Hungerford Drive, Third Floor           Rockville, MD 20850
14498702   Computer Xtras Xpress             2231 Paragn Drive          San Jose, CA 95131
14498703   Cooper White & Cooper              201 California St. 17th Floor         San Francisco, CA 94111
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14498705   County of Santa Clara            1555 Berger Dr., Suite 300          San Jose, CA 95112
14498706   Couples, Fred         1851 Alexander Bell Dr., Ste. 410             Reston, VA 20191−4392
14498707   Creative Materials, Inc.          12 Willow Road           Ayer, MA 01432
14498708   Criterion Labs, Inc          P.O Box 700190            San Jose, CA 95170
14498709   Crowe Horwath KL Tax Sdn Bhd                 C15−5 Level 15 Tower C, Megan Ave. II 12               Kuala Lumpur, Malaysia
           50450−0000,
14498710   Cubatic Technology Corporation              48430 Milmont Drive           Fremont, CA 94538
14498711   Cyrus Tamboli UTMA                76 Martinique Ave.          Tamp, FL 33606
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           Williams        Palo Alto, CA 94301
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           Williams        Palo Alto, CA 94301
14498714   DAG Ventures III−A, LLC               c o DAG Ventures           251 Lytton Avenue, Suite 200           Attn Greg
           Williams        Palo Alto, CA 94301
14498715   DAG Ventures III−O, LLC               c o DAG Ventures           251 Lytton Avenue, Suite 200           Attn Greg
           Williams        Palo Alto, CA 94301
14498716   DAG Ventures III−Q, LLC               c o DAG Ventures           251 Lytton Avenue, Suite 200           Attn Greg
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14498741   David P. Bacon & Lucia Warner Bacon, JTW                  9410 Delancey Drive           Vienna, VA 22182
14498742   David P. Bacon & Lucia Warner Bacon, JTW                  9410 Delancey Drive           Vienna, VA 22182−3409
14498743   David Petterson          13701 209th Avenue             Woodinville, WA 98077
14498744   David R. Johnson           2901 Smallman Street Unit 4            Pittsburgh, PA 15219
14498745   David S. Safran & Susan Safran, JTWROS                 2583 Plum Tree Court           Vienna, VA 22181
14498746   David Wang          41831 Via San Miguel              Fremont, CA 94539
14498747   Daystar, Inc.       3240 Majestic Ridge             Las Cruces, NM 88011
14498748   De Ceuster, Denis           12 Skylonda Drive           Woodside, CA 94062
14498749   Decelles, Janie         1631 Glasgow Avenue              Cardiff, CA 92007−1621
14498750   Deidra Vrooman            1935 Stuart St.         Berkley, CA 94703
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                                                                19
14498751   Dell Marketing L.P C/O Dell USA L.P             PO Box 910916           Pasadena, CA 91110
14498752   Dell'Aera, Mario         217 Park Drive         East Chester, NY 10709
14498753   Denis Berry         1404 Siebert Court         Naperville, IL 60565
14498754   Dennis L. Ross Living Trust          747 N. Linden Court          Wichita, KS 67206
14498755   Department of Industrial Relations         Cashier Accounting Office (PV) PO Box 42             San Francisco, CA
           94142
14498756   Department of Toxic Substance Control            P.O. Box 1288          Sacramento, CA 95812
14498757   Deran Garabedian          104 Charteris Road London NW6 7E              London, NW6 7EX UK
14498758   Detroia, Mark         15G Nob Hill         Roseland, NJ 07068−3805
14498759   Dewey Pest Control          781 Mabury Rd           San Jose, CA 95133
14498760   Dewey, Christopher          11 S. Marina Dr.         Key Largo, FL 33037−3605
14498761   DiMatteo, Emilio          16 Birch Grove Drive         Armonk, NY 10504
14498762   Dialogic, Inc        Pox 49317         San Jose, CA 95161
14498763   Diamond Fence Company, Inc.             15466 Los Gatos Blvd. #109−147            Los Gatos, CA 95032
14498764   Diane A. Hall Living Trust         7786 Orion St.         Arvada, CO 80007−7878
14498765   Digi−Key Corp          PO Box 250 Thief           River Falls, MN 56701
14498766   Dinsmore Landscape Company              430 Aldo Ave          Santa Clara, CA 95054
14498767   Diodes Incorporated          4949 Hedgcoxe Road, Suite 200           Plano, TX 75024
14498768   Director of the USPTO          of the USPTO Trademark Office PO Box 145               Alexandria, VA 22313
14498769   Division Photovoltaic Modules, Systems a           Systems and Reliability Fraunhofer−Insti         Freiburg, Germany
           79110−0000,
14498770   Do, Henry         1 Whitney         Irvine, CA 92620−3386
14498771   Dobkin, Robert         16095 Ridgecrest Ave.           Monte Sereno, CA 95030
14498772   Dommreis, Keith          35 Manchester Cir.          Poughkeepsie, NY 12603−2507
14498773   Donald C. Wright Revocable Trust            433 Windsor Park Dr.          Dayton, OH 45459−4131
14498774   Donald C. Wright Revocable Trust            433 Windsor Park Drive          Dayton, OH 45459
14498775   Donner, Barry         6 Via Sienna         Dana Point, CA 92629−3358
14498776   Doug Martin          PO Box 2042          Diamond Springs, CA 95619
14498777   Douglas J. Parsons         c/o Chinook Bend RV Resort 2920 Siletz H             Lincoln City, OR 97367
14498778   Douglas V. Hall Lori B. Hall, JTWROS             1704 Woodlore Road            Annapolis, MD 21401−6568
14498779   Douglas Yablonski Lauren Yablonski, JT            22 Summit St.          Huntington, NY 11743
14498780   Dozoretz, Ronald          240 Corporate Blvd., #110         Norfolk, VA 23502−4948
14498781   Dr. Chirag Shah Kresha Shah           2201 Branch Hill St.         Tampa, FL 33612
14498782   Dr. Hoshedar Tamboli Advanta Roth IRA              76 Martinique Ave.          Tampa, FL 33606
14498783   Dr. Joseph P. Galichia & Stell A. Galich         808 N. Linden Street         Wichita, KS 67206
14498784   Dr. Joseph P. Galichia & Stella A. Galic         808 N. Linden Street         Wichita, KS 67206
14498785   Dr. Larry Burton         2714 27th Street NW          Washington, DC 20008
14498786   Dr. Navnit U Patel Rev. Living Trust          296 Tall Oak Trail         Tarpon Springs, FL 34688
14498787   Drapela, James         1302 Morton League Rd            Richmond, TX 77406−1373
14498788   Du, Tu        813 Orange Ave           Sunnyvale, CA 94087
14498789   Duane Morris          One Riverfront Plaza 1037 Raymond Blvd.             Newark, NJ 07102
14498790   Dun & Bradstreet          5210 E Williams Cir #150          Tucson, AZ 85711
14498791   Duniway Stockroom Corp.            48501 Milmont Dr.           Fremont, CA 94538
14498792   Duratherm         P.O Box 563          Lewistong, NY 14092
14498793   Duvall, Charles        1324 Vine Place          Ontario, CA 91762
14498794   Dyke Rogers          323 Denver Avenue           Dalhart, TX 79022
14498795   Dynamesh, Inc.          512 Kingsland Drive          Batavia, IL 60510
14498796   Dysert Environmental, Inc.         P.O Box 5608          San Mateo, CA 94402
14498797   E.I. DuPOnt Nemours & Company, Inc              PO Box 101727            Pasadena, CA 91189
14498798   EAG Inc.         PO Box 203544           Dallas, TX 75320
14498799   EFI Specialty Metal, LLC          Susquehanna Ave.           Franklin, NJ 07417
14498800   EMCE          s−Gravendamseweg 53             Voorhout, The Netherlands 2215 TC
14498801   ES2 Co. Ltd.         No. 12, Ln. 248, Puqian Rd. Xiangshan Di            Hsinchu City 300, Taiwan,
14498802   ESPEC NORTH AMERICA, INC.                   4141 Central Parkway          Hudsonville, MI 49426
14498803   ETC Custodian FBO Richard W. Lucas IRA                47 Hoffman Lane          Blauvelt, NY 10913
14498804   ETC Custodian FBO: Samuel Champi Jr. IRA               9 Bromleigh Way           Morris Plains, NJ 07950
14498805   EXAIR Corporation           11510 Goldcoast Drive           Cincinnati, OH 45249
14498806   EYE Lighting International          PO Box 72322          Cleveland, OH 44192
14498807   Eagle Tech, Inc.        2299 Ringwood Ave. C−3             San Jose, CA 95131
14498808   Earth System Pacific         PO Box 3757          San Luis Obispo, CA 93403
14498809   Eastwick Communications            211 Sutter St. Floor 3        San Francisco, CA 94108
14498810   Eckert, Geza         474 Mary Allen Lane          Mountainside, NJ 07092
14498811   Edmond Allen Morrison            50 Angus Lane          Warren, NJ 07059
14498812   Edmond P. Brady & Kathleen M. Brady              17 Stonebridge Road          Sparta, NJ 07871−3151
14498813   Edmond P. Brady & Kathleen M. Brady, JTW               17 Stonebridge Rd.          Sparta, NJ 07871
14498814   Edward J Boling          60 Emerson St.         Fremont, CA 94539
14498815   Edward, James          585 Castleton Avenue, Apt. 2A           Staten Island, NY 10301−2050
14498816   Edwards Vacuum, LLC             Remitt To: Dept. CH 19935           Palatine, IL 60055
14498817   Edwin Bruce Associates          1625 The Alameda Suite 610            San Jose, CA 95126
14498818   Elder, Krista        119 Selby Lane         Atherton, CA 94027
14498819   ElectroChem Solutions          32500 Central Ave. Union           City, CA 94587
14498820   Electrolock, Inc        PO Box 645249          Cincinnati, OH 45264
14498821   Electronic Container Corporation          5050−D List Drive          Colorado Springs, CO 80919
14498822   Elizabeth Gile Ratcliff & Rob Gile, JTW           1480 Silver King Drive         Aspen, CO 81611
14498823   Elizabeth Gile Ratcliff & Rob Gile, JTWR            1480 Silver King Drive         Aspen, CO 81611−1047
14498824   Ellen Dolores Search Consultants          8916 Oakmont Dr.           Santa Rosa, CA 95409
14498825   Ellett M. Smith Frances R. Smith, JTWR            2754 Hill Road          Vienna, VA 22181−5362
14498826   Ellsworth Adhesives*          W129 N10825 Washington Drive               Germantown, WI 53022
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14498827   Embedded Technology System Solutions, In                2913 Montell Ct.         Plano, TX 75025
14498828   Emilio DiMatteo           16 Birch Grove Drive           Armonk, NY 10504
14498829   Endura Coatings LLC            42250 Yearego Drive            Sterling Heights, MI 48314
14498830   Energy Acuity LLC            1623 Blake St. Suite 350          Denver, CO 80202
14498831   Energy Management Systems               Accounts Receivable Dept 1612 PO Box 538               Malvern, PA 19355
14498832   Engineering and Manufacturing Services              3193 Belick St. #3         Santa Clara, CA 95054
14498833   Entrees Unlimited          365 E. Julian Street         San Jose, CA 95112
14498834   Environmental Control           123 Ferino Way           Fremont, CA 94536
14498835   Environmental−Safety Consultants              11191 Perel CT.         Rancho Cordova, CA 95670
14498836   Equipment for Technology & Science, Inc.              33 Great Oaks Blvd,           San Jose, CA 95119
14498837   Eric K. Habig & Jane R. Williams, JTWROS                1414 Eagle Trace Ct.          Greenwood, IN 46143
14498838   Eric O. Tyler Fran T. Tyler, JWROS             1426 Juniper Street         Alex City, AL 35010−4144
14498839   Erickson, Rose Marie           109 Parkway Court            Fond Du Lac, WI 54935
14498840   Erik Christian Larsen          PO BOX 1293            Hillsborough, NC 27278
14498841   Erin C. Lau         316 Hillside Ct.         Kingston, NY 12401
14498842   Escher, Francois          Chemin de la Charroyette 11           Confignon 01232           Switzerland
14498843   Essentra components           7400 West Industrial Drive,           Forest Park, IL 60130
14498844   Essex Capital Corporation           1486 East Valley Road           Santa Barbara, CA 93108
14498845   Essex Capital Corporation           Ralph T. Iannelli, President         1486 East Valley Rd.         Santa Barbara, CA
           93108
14498846   Essex Capital Corportation           1486 East Valley Rd, 2nd Floor           Santa Barbara, CA 93108
14498847   Estep, Gerald         627 N. Longford Lane            Mountainside, NJ 07092
14498848   Evoqua Water Technologies             28563 Network Place            Chicago, IL 60673
14498849   Ewald Associates, Inc.          48531 Warm Springs Blvd. #415              Fremont, CA 94539
14498850   Expedite Precision Works, Inc.           931 Berryessa Road           San Jose, CA 95133
14498851   Expo Partner          VESTERVANGSVEJ 8                 Viborg, Denmark 08800−0000,
14498852   FAK Distribution           13701 North Lamar           Laredo, TX 78045
14498853   FBO Linoleum City, Inc. M/P/P UTA DTD 12                   4849 Santa Monica Blvd.          Los Angeles, CA 90029
14498854   FBO Linoleum City, Inc. M/P/P UTA, DTD 1                  4849 Santa Monica Blvd.           Los Angeles, CA 90029
14498855   FEI Company            9066 Paysphere Circle          Chicago, IL 60674
14498856   FLIR Systems, Inc           9 Townsend West            Nashua, NH 03063
14498857   FORELL/ELSESSER ENGINEERS, INC                       160 Pine St         San Francisco, CA 94111
14498858   FR Kelly         27 Clyde Road,           Dublin 4, Ireland D04 F838,
14498859   FW Solexel Investors, L.P.           201 Main St., Suite 1000          Fort Worth, TX 76102
14498860   Fabricated Extrusion          2331 Hoover Dr.           Modesto, CA 95354
14498861   Facilities Logistics, Inc        661 Walsh Ave.           Santa Clara, CA 95050
14498862   Fastsigns        546−2 Lawrence Expressway               Sunnyvale, CA 94085
14498863   Fatemi, Falon          25691 La Lanne Court           Los Altos Hills, CA 94022
14498864   Fatemi, Homi           25691 La Lanne Court           Los Altos Hills, CA 94022
14498865   Fatemi, Ryan          25691 La Lanne Court            Los Altos Hills, CA 94022
14498866   FedEx          P.O Box 371461           Pittsburgh, PA 15250
14498867   FedEx Express           PO Box 7221           Pasadena, CA 91109
14498868   FedEx Freight *          O Box 21415           Pasadena, CA 91185
14498869   Fenwick & West LLP             Silicon Valley Center          801 California Street        Mountain View, CA 94041
14498870   Fernqvist Labeling Solutions           2544 Leghorn Street          Mountain View, CA 94043
14498871   Fidelity Roof, Inc.         1074 40th Street         Oakland, CA 94608
14498872   Field, James         8743 W Fairway Drive            Baton Rouge, LA 70809−1312
14498873   Filmtronics Inc.         Box 1521          Butler, PA 16003
14498874   Financial Strategies Consulting Group LL             3650 Mt. Diablo Blvd. #210           Lafayette, CA 94549
14498875   Fiore,, Richard         291 Honey Pot Road            Westfield, MA 01085
14498876   Fire−Matic System, Inc           5165 Brandin Court           Fremont, CA 94538
14498877   First Choice Services         3130 Alfred St.          Santa Clara, CA 95054
14498878   First Philec Solar Corporation          Lot 19 Phase 1B Second St. First Philipp           Tanauan City Batangas,
           Philippines 04232
14498879   First United Methodist Church            c o Dr. Michael Tyler         702 N. Main Street         Mount Pleasant, TN
           38474−1015
14498880   Fisher Scientific Company, LLC             300 Industry Drive,         Pittsburgh, PA 15275
14498881   Fisnar        19 Chapin Road Building C             Pine Brook, NJ 07058
14498882   Fitgerald Family LLC           9712 Charles Street          Omaha, NE 68114−2124
14498883   Fitzgerald Family LLC           9712 Charles Street          Omaha, NE 68114
14498884   Flagship Facility Services, Inc.         P.O. Box 49019          San Jose, CA 95161
14498885   Flex Plan Services, Inc.         PO Box 53250            Bellevue, WA 98015
14498886   FloStor         3366 Enterprise Avenue           Hayward, CA 94545
14498887   Flores, Ramiro          504 Courtyard Circle          Santa Rosa, CA 95407
14498888   Fluke         7272 Collection Center Drive.           Chicago, IL 60693
14498889   Flying Fish Group, LLC            5025 Anchor Way, Suite 1            St. Croix 00820         U.S. Virgin Islands
14498890   Fortix        548−196 Gajwa−don              Seo−gu Incheon, Korea,
14498891   Four Dimensions, Inc           3140 Diablo Ave.           Hayward, CA 94545
14498892   Franchise Tax Board           PO Box 942857            Sacramento, CA 94257
14498893   Fred J. Stifter & Regina Tozar Stifter,         2430 Sleepy Hollow Drive             Glendale, CA 91206
14498894   Fred J. Stifter & Regina Tozar Stifter,         2430 Sleepy Hollow Drive             Glendale, CA 91206−4711
14498895   Fredrick J. ShimeK & Lynn Shimek, JTWROS                   19 Schuback Drive          Sugar Land, TX 77479
14498896   Fredrick J. Shimek & Lynn Shimek, JTWROS                  19 Schubach Drive           Sugarland, TX 77479
14498897   Freehills Patent Attorneys          101 Collins St.         Melbourne VIC, Australia 03000−0000,
14498898   Freiburg Management Marketing Int.              Hermann−Mitsch−Str. 3            Freiburg, Germany 79108−0000,
14498899   Friedmann & Kirchner GbmH               Grobe Ahlmuhle 7 D−7686              Rohrbach, Germany,
14498900   Fuchs, Ran         54 W. 16th St. 7 BC           New York, NY 10011−6361
14498901   Fujipoly America Corp           900 Milik Street. P.O. Box 119            Carteret, NJ 07008
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                                                               19
14498902   G. Michael Schmidt Linda Schmidt, JTWR               59 Johnson Woods Dr.           Reading, MA 01867−4603
14498903   GA Wirth         3494 Camino Tassajara Suite # 244            Danville, CA 94506
14498904   GCL Solar Power (Suzhou) Limited             XianDai Ave. Integrated Free, Trade Zone           Suzhou Industrial Park
           China
14498905   GFH Management, LLC              884 Point Seaside Drive          Crystal Beach, FL 34681
14498906   GL Automation Inc. S&U            10 Sanhill Rd.         Dallas, TX 75238
14498907   GP Solar        GP Solar GmbH Hainbuchenring 9−11 82061                 Neurie, Germany,
14498908   GST Green Source Tech Inc            1306 John Reed Court           City of Industry, CA 91745
14498909   GSV Asset Management, LLC              2925 Woodside Road            Woodside, CA 94062
14498910   GSV Capital         2925 Woodside Road            Woodside, CA 94062
14498911   GSV Capital Corp.           2925 Woodside Road           2nd Floor        Attention Matthew Hanson         Woodside,
           CA 94062
14498912   GSV Capital Corp.           2925 Woodside Road 2nd Floor            Attention Matthew Hanson         Woodside, CA
           94062
14498913   GSV Capital Lending, LLC            2925 Woodside Road            Woodside, CA 94062
14498914   GSV IQ         Stanford Financial Square 2600 El Camino             Palo Alto, CA 94306
14498915   GT Advanced Technologies            iel Webster Highway           Merrimack, NH 03054
14498916   Gallade Chemicals          1230 East St. Gertrude Place         Santa Ana, CA 92707
14498917   Gardner, Glenn         3332 N Woodlawn Ave              Metairie, LA 70006
14498918   Gary D. Wilson Elizabeth H. Wison, JTW              48 E. River Acres Road         Washington, NC 27889
14498919   Gatlin, Wesley        510 Gulf Shore Drive, Unit 4           Destin, FL 32541−3026
14498920   General Plasma Inc.          546 East 25th Street        Tucson, AZ 85713
14498921   Genesem Inc.         5−30, Juan−dong,           Nam−ku Incheon, South Korea 402−835,
14498922   Genisys Corporation          15411 Northeast 95th St.         Redmond, WA 98052
14498923   Gentec−EO          445 St−Jean−Baptiste Suite 160           Quebec, QC, Canada G2E 5N7,
14498924   Gentry Capital Advisors          205 North Michigan Ave. Suite 3770            Chicago, IL 60601
14498925   Gentry Technology Fund II LLC            c o GSI Management Company, LLC                205 N. Michigan Avenue, Suite
           3770        Chicago, IL 60601
14498926   Gentry−Solexel Investment LLC            c o GSI Management Company, LLC                205 N. Michigan Avenue, Suite
           3770        Chicago, IL 60601
14498927   George Kamian          425 Silverwood Dr           Scotts Valley, CA 95066
14498928   George R. Tuttle         100 Larkspur Landing Circle, Suite 385           Larkspur, CA 94939
14498929   Gerald C. McCaslin Trust DTD 02/25/1992              2525 Liberty Landing Road           Liberty, MO 64068
14498930   Gerald C. McCaslin Trust DTD 02/25/1992              c/o Gerald C McCaslin          2525 Liberty Landing
           Rd.       Liberty, MO 64068
14498931   Gerald R. Salerno         1 Their Lane        Upper Saddle River, NJ 07458
14498932   Gerald T. Aaron Living Trust          8915 East Douglas          Wichita, KS 67207
14498933   Gerald T. Aaron Living Trust          8915 East Dougles          Wichita, KS 67207
14498934   Gerome Technologies, Inc           85 Broadway          Menands, NY 12204
14498935   Glenn E. Phillips Regina Elkaim, JTWRO              132 Turtle Cove Lane         Huntington, NY 11746−3858
14498936   Glenn M. Gardner           3332 N. Woodlawn Ave.            Metairie, LA 70006
14498937   Global Industrial        29833 Network Place           Chicago, IL 60673
14498938   GoEngineer, Inc.         1787 E. Fort Union Blvd #200           Cottonwood Heights, UT 84121
14498939   Gocha, H. Alan         440 Hilltop Drive         White Lake, MI 48386−2325
14498940   Goldfarb Family Trust          215 S. Ramona Avenue, Apt. 11            Monterey Park, CA 91754−2826
14498941   Gould, Jason        12100 Greenleaf Avenues            Potomac, MD 20854
14498942   Gourmet Electronics          PO Box 8195          Walnut Creek, CA 94596
14498943   Gowell, Michael          2891 North Beverly Glenn           Los Angeles, CA 90077
14498944   Graco Ohio Inc.         8400 Port Jackson Ave. NW North             Canton, OH 44720
14498945   Grainger        Dept 873978142           Palatine, IL 60038
14498946   Grant Family Trust dated 11/8/2012           2901 Clint Moore Rd. #273           Boca Raton, FL 33496
14498947   Great America Leasing Corp.           PO Box 660831           Dallas, TX 75266
14498948   Green, Lucina        217 Cooper Drive           Verbank, NY 12585
14498949   GreenBiz group         350 Frank H. Ogawa Plaza ste 800             Oakland, CA 94612
14498950   Greenspan, Harvey           20 Dawson Avenue           West Orange, NJ 07052−2308
14498951   Group Manufacturing Services           1928 Hartog Drive           San Jose, CA 95131
14498952   Guadagnino, Antonio           19 45 75th Street        East Elmhurts, NY 11370
14498953   Guardian        P.O. Box 824395           Philadelphia, PA 19182
14498954   Guasta, Scott       7 Glencree Lane          Lebanon, NJ 08833
14498955   Guenther, Keith        27562 San Blas           Mission Viejo, CA 92692
14498956   Gumina, William           21 Lake Walton Rd.          Wappingers Falls, NY 12590
14498957   Gupta, Ruchir        10 Suncrest Dr.         Dix Hills, NY 11746−5733
14498958   H−SQUARE            3100 Partick Henry Dr.           Santa Clara, CA 95054
14498959   H. Alan Gocha         440 Hilltop Dr.         White Lake, MI 48386
14498960   H.A.L.M. Electronic GMBH             Burgstr. 106,        Frankfurt/Main, Germany 60389−0000,
14498961   HIGHVAC Corporation             Vacuum and Abatement Solutions 4710 Nort               Colorado Springs, CO 80907
14498962   HISCO Inc.         P.O. Box 890811           Charlotte, NC 28289
14498963   HPC Architecture          2216 The Alameda           Santa Clara, CA 95050
14498964   HPM Systems Inc.           70 Saratoga Ave., Suite 200         Santa Clara, CA 95051
14498965   Haas, Jay       1851 Alexander Bell Dr., Ste. 410           Reston, VA 20191−4392
14498966   Haas, William         1851 Alexander Bell Dr., Ste. 410          Reston, VA 20191−4392
14498967   Hall, Randall       800 Placido Way NE            St. Petersburg, FL 33704
14498968   Hana Intellectual Property Law          6F, 10, Teheran−ro 20−gil, Gangnam−gu,            Seoul, South Korea
           135−923,
14498969   Hancey, R. Bruce          1784 Oak Springs Drive          Salt Lake City, UT 84108
14498970   Hangzhou First PV Material Co., Ltd.           283 Baojin Road Linan 3113           Hangzhou, China
14498971   Hannon, Mark          729 Royal Crest Court          Bolingbrook, IL 60440
14498972   Hanwa Co., Ltd         6−18−2 Ginza, Chuo−ku             Tokyo, Japan 104−8429,
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                                                               19
14498973   Harbor Light Securities, LLC            9325 Bay Plaza Blvd #205,             Tampa, FL 33619
14498974   Harrington Industrial Plastics          14480 Yorba Ave            Chino, CA 91710
14498975   Harry E. Tyler Trust          211 Pleasant Street          Mt. Pleasant, TN 38474
14498976   Harry E. Tyler Trust          c o Michael L. Tyler, Trustee           211 Pleasant Street       Mount Pleasant, TN
           38474−1519
14498977   Harry S. Mann Revocable Trust              228 Ellis Ridge Road           Glen, NH 03838
14498978   Harvey Greenspan            20 Dawson Avenue             West Orange, NJ 07052
14498979   Hastest Solutions, Inc          2048 Corporate, Ct.          San Jose, CA 95131
14498980   Haymes, Evan            c/o Haymes Investment Company               5 Penn Plaza, 24th Floor        New York, NY
           10001
14498981   Hays Companies             MI−88 PO Box 1414             Minneapolis, MN 55480
14498982   Hays, Cullen          119 Selby Lane           Atherton, CA 94027
14498983   Hays, Linda          119 Selby Lane           Atherton, CA 94027
14498984   Hays, Neyssa           119 Selby Lane          Atherton, CA 94027
14498985   Hays, Sheena           119 Selby Lane          Atherton, CA 94027
14498986   Hays−Hatch, Dianne             119 Selby Lane           Atherton, CA 94027
14498987   Haz Mat DQE             9910 North by North E. Blvd #600             Fishers, IN 46037
14498988   Heateflex Corp           405 East Santa Clara Street          Arcadia, CA 91006
14498989   Heigl Adhesives           7667 Cahill Road Suite #100             Edina, MN 55439
14498990   HeinConcept           Hoppenriekels 85 26125             Oldenburg, Germany,
14498991   Heller Industries         4 Vreeland Road           Florham Park, NJ 07932
14498992   Hellmann Worlwide Logistics              C/O Deutsche Bank Trust PO Box 13361               Newwark, NJ 71010
14498993   Hendor−PE            Incorporated 55 Concourse Way              Greer, SC 29650
14498994   Henkel Electronic Materials LLC              3067 Paysphere Circle           Chicago, IL 60674
14498995   Hentec Industry           No. 55 Qinfend Road Huashi Town               Jiangyin City, Jiangsu Province      People's
           Republic of China
14498996   Heraeus Materials Technology N.A. LLC                 301 N. Roosevelt Avenue           Chandler, AZ 85226
14498997   Heritage Global Partners           12625 High Bluff Dr #211,             San Diego, CA 92130
14498998   Herrmann & Schmidt              Lierstra e 27        Munchen, Germany 80639−0000,
14498999   Hi Q Solar Inc          2030 Duane Ave.           Santa Clara, CA 95054
14499000   Higdem, Garry            325 Paragon Way           Castle Rock, CO 80108
14499001   High Tech Printing           509 Los Coches St.           Milpitas, CA 95035
14499002   Highsmith, Charles           203 Jersey Street         Dewey Beach, DE 19971−3410
14499003   Hilditch Enterprises, Inc.         2834 Hammer Ave. Unit#216                Norco, CA 92860
14499004   Hill Family Revocable Living Trust             7606 Pontiac Trail          Northville, MI 48168−9472
14499005   Hill, Charles         8700 Big View Dr           Austin, TX 78730−1528
14499006   Hionix Inc.         1980 Concourse Dr.            San Jose, CA 95131
14499007   Hobbs & Towne             PMB 269 PO Box 987               Valley Forge, PA 19482
14499008   Hobbs, Allen           2340 Vernon Drive           Charlotte, NC 28211
14499009   Hose & Fittings, etc.          1811 Enterprise Blvd.          W. Sacramento, CA 95691
14499010   Hubbard, Joseph           146 Rivoli Ridge           Macon, GA 31210
14499011   I2DS Inc.          39899 Balentine Drive Suite 200            Newark, CA 94560
14499012   IAR Systems           1065 E. Hillsdale Blvd. Suite 420            Foster City, CA 94404
14499013   ICB GmbH & Co. KG                KG Ludwig−Erhard−Ring 21 15827                 Blankenfelde−Mahlow, Germany,
14499014   IFI Institut fur Industrieaerodynamik Gm             Institute at Aachen University of Applie        Strabe 120
           52074          Aachen, Germany,
14499015   IFM Efector, Inc.          782 Springdale Drive           Exton, PA 19341
14499016   IMEC           Kapeldreef 75 B−3001            Leuven, Belgium,
14499017   IMI Energy Solutions            46453 Landing Parkway             Fremont, CA 94538
14499018   IPI Plastics, Inc.        1257 Birchwood Drive             Sunnyvale, CA 94089
14499019   ISSI         142 Woodcrest Place            Santa Cruz, CA 95065
14499020   IVAC, Inc.          3560 Bassett St.          Santa Clara, CA 95054
14499021   Illiano, Vincent         225 E. 24th Street, Apt 15C           New York, NY 10016
14499022   Imperial Capital          2000 Avenue of the Stars, 9th Floor,            Los Angeles, CA 90067
14499023   Imtec Acculine, Inc.          49036 Milmont Dr             Fremont, CA 94538
14499024   In−Flo Designs           1675 Walsh Ave. #3            Santa Clara, CA 95050
14499025   Independent Electrical Testing            6363 Collier Canyon, Rd.           Livermore, CA 94550
14499026   Indium Corporation            P.O. Box 269          Utica, NY 13503
14499027   Inland Water, Inc          P.O Box 2925           Dublin, CA 94568
14499028   Inner City Express          6920 Santa Teresa Blvd. Suite 206             San Jose, CA 95119
14499029   InnoLas Solutions Gmbh             Pionierstrasse 6 8215           Krailling, Germany,
14499030   Innovative Circuits Engineering            2310 Lundy Ave            San Jose, CA 95131
14499031   Innovative Semiconductor             324 Grandpark Circle           San Jose, CA 95136
14499032   Instron         825 University Ave.           Norwood, MA 02062
14499033   Insulectro         PO Box 51290            Los Angeles, CA 90051
14499034   Integ Roof Co.          6331 Cherry Ave           Long Beach, CA 90805
14499035   Integral Systems Engineering, Inc.            1244 Commerce Avenue              Woodland, CA 95776
14499036   Integrated Engineering Services            70 Saratoga Ave., #200           Santa Clara, CA 95051
14499037   Interior Nature's Design          25108 Marguerite Pkway #336               Mission Viejo, CA 92692
14499038   International Polymer Solutions, Inc.           5 Studebaker          Irvine, CA 92618
14499039   Interstate All Battery Center          570 El Camino Real, Suite 160            Redwood City, CA 94063
14499040   Intertek Testing Service NA, Inc.            1809 10 St. Suite 400         Plano, TX 75074
14499041   Intertrust        87 Mary Street          George Town            Grand Cayman, Cayman Islands
14499042   Intralinks, Inc.        PO Box 392134            Pittsburgh, PA 15251
14499043   Intrax        600 California St. 10th Floor           San Francisco, CA 94108
14499044   Intuit Quickbooks           2700 Coast Ave.,           Mountain View, CA 94043
14499045   Ion Circuits         4529 Barwyn Ct.           Plano, TX 75093
14499046   Isabelle Derkazarian          51 Marsh Street          Belmont, MA 02478
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14499047   J&J Paper & Packaging Inc.          3363 Arden Road           Hayward, CA 94545
14499048   J.A Woollman C. Inc.          645 M. St. Suite 102         Lincoln, NE 68508
14499049   JCF Capital Advisors, LLC          1302 Garnett Ave.          San Diego, CA 92109
14499050   JHFC Consulting          3255 Padilla Way          San Jose, CA 95148
14499051   JLL Property Services (Malaysia) Sdn Bhd            Unit 7.2, Level 7, Menara 1 Sentrum, No           Kuala Lumpur,
           Malaysia 50470−0000,
14499052   JLS Holdings LLC           c o Jim Sorenson         299 South Main Street, Suite 2200          Salt Lake City, CA
           84111
14499053   JLT Specialty Insurance Service         22 Century Hill Dr. Ste. 102          Latham, NY 12110
14499054   JRP Solexel Investors, L.P.        201 Main St., Suite 1000          Fort Worth, TX 76102
14499055   JRT Photovoltaics GmbH & Co. KG              Riegeler Stra e 4, 79364         Malterdingen, Germany,
14499056   JSI Shipping        1535−B Rollins Road           Burlingame, CA 94010
14499057   Jacobson, Mark          800 W. End Ave., Apt. 13B           New York, NY 10025−5467
14499058   Jaecker, John        1248 Valle Vista Drive         Fullerton, CA 92831−1942
14499059   Jake Stringer       7 Cerro Ct.        Danville, CA 94526
14499060   James Aldridge         49 Church Lane          Scarsdale, NY 10583
14499061   James Bryant and Phyllis E. Bryant, JTWR            10231 W. Spring Green Road            Greenfield, WI 53228
14499062   James C. Leslie         32 Manor Road         Huntington, NY 11743
14499063   James Drapela         1302 Mprton League Rd.            Richmond, TX 77406
14499064   James Field        8743 W. Fairway Dr.          Baton Rouge, LA 70809
14499065   James M. Tomlin Revocable Investment, Tr             309 W. Morningside Dr.           Peoria, IL 61614
14499066   James Manske          1203 Washington Street           Oshkosh, WI 54901
14499067   James P. Ginzkey          221 East Washington Street          Bloomington, IL 61701
14499068   James R. Grier III & Carolyn E. Grier, J        202 S. Lynwood Street           Wichita, KS 67218
14499069   James R. Grier III & Carolyn E. Grier, J        2525 E−36th Circle N.           Wichita, KS 67219
14499070   James R. Riggins Trust Dtd 04/24/2012           213 Mariners Point Rd          Sequim, WA 98382
14499071   James R. Riggins Trust Dtd 04/24/2012           c/o James R. Riggins          213 Mariners Point Rd.        Sequim, WA
           98382−8374
14499072   James Somers          2471 N. 91st Street        Milwaukee, WI 53226
14499073   James Svedeman           7783 Ivanhoe Ave.          La Jolla, CA 92037
14499074   James Tomlin          309 W. Morningside Dr.           Peoria, IL 61614
14499075   Jan. L. Ziegler       60 Edgewater Drive 12−F            Coral Gables, FL 33175
14499076   Jeff Belfiglio       12629 NE 2nd Street         Bellevue, WA 98005
14499077   Jeffrey Boigenzahn         N372 690th St.         Mondovi, WI 54755
14499078   Jeremy Dittmer         1921 Rock Street Apt. 6          Mountain View, CA 94043
14499079   Jerry L. Sands        401 Hay Long Avenue            Mt. Pleasant, TN 38474
14499080   Jesse Heap & Son          576 South 21 St.        Irvington, NJ 07111
14499081   Jiaquan IP Law Firm          910, Tower A Winner Plaza            No. 100 Huangpu Ave. W.Tianhe            Guangzhou,
           Guangdong          Republic of China
14499082   Jiaquan IP Law Firm          910, Tower A Winner Plaza, No. 100 Huang              Guangzhou, Guangdong, China
14499083   Joelle Lapeze        304 Park Ridge Drive          River Ridge, LA 70123
14499084   John A. Barlow          103 Virginia Place        Longview, WA 98632
14499085   John Charles David Lewis and Susan Eliza            27 East McCollough Drive           Sedona, AZ 86339
14499086   John F. McCarthy          50 Mayhew Road           Attleboro, MA 02703
14499087   John G. Klinestiver        2253 Franklin St.         San Francisco, CA 94109
14499088   John H. Pomeroy & Jyl E. Pomeroy, JTWRO                2410 N. Lincoln Street         Arlington, VA 22207
14499089   John H. Pomeroy & Jyl E. Pomeroy, JTWROS                 2410 N. Lincoln Street        Arlington, VA 22207
14499090   John J. Todd        3586 Wishbone Way            Encinitas, CA 92024
14499091   John Stelluti       28 Adela Ct.        Yorktown Hts., NY 10598
14499092   John W. Tanselle Lisa F. Tanselle, JTW          6255 Canterbury           Pitsboro, IN 46167−9570
14499093   John Wiggins & Dorothy Wiggins, JTWROS                6 Stagecoach Road          Sunapee, NH 03782
14499094   John Wiggins & Dorothy Wiggins, JTWROS                9 Stagecoach Road          Sunapee, NH 03782−2730
14499095   John Wood         5104 Evergreen Ct.          Austin, TX 78731
14499096   Johnson, Clark         5 Wyndehurst Drive          Madison, NJ 07940
14499097   Johnson, David         1011 Summer Place           Pittsburgh, PA 15243−2033
14499098   Johnson, Stephen         6919 Chartwell Court           Louisville, KY 40241
14499099   Jonas & Redmann           Kaiserin − Augusta − Allee          Berlin, Germany,
14499100   Jonas & Redmann USA, Inc.            5035 NE Elam Young Pkwy Suite 100               Hillsboro, OR 97124
14499101   Jonathan Ansbacher          71 Birch Lane         Massapequa Park, NY 11762
14499102   Jose Mendez         989 College Drive         San Jose, CA 95128
14499103   Jose Raul Chaidez Gonzales          12577 Balzing Star. Dr.          El Paso, TX 79928
14499104   Josef Kramer         824 Riverside Dr.        San Jose, CA 95125
14499105   Joseph C. Poggio Irene Poggio, JtWROS            1480 Elmer St.          Wantagh, NY 11793−3023
14499106   Joseph F. Quinn Sandra Quinn, JTWROS              66 Pine Tree Circle         N. Kingstown, RI 02852−6710
14499107   Joseph K. Camas Linda L. Camas, JTWROS                2660 Keller Rd.         Warren, PA 16365−8719
14499108   Joseph McLauchlan           8739 Terra Mont Way            San Antonio, TX 78255
14499109   Joseph Nestola         20 Cortelyou Rd.        Merrick, NY 11520
14499110   Joshi, Swapnali         127 Imperio Ave         Fremont, CA 94539
14499111   Joshua Braen         670 Laurel Lane         Wyckoff, NJ 07481
14499112   Juanxin Technology Co., Ltd.          BLDG 5, FL 5, Jia Yi Yuan Science Park H             Shenzhen, China
14499113   K−Tech Manufacturing & Machining              3260 Keller St#5          Santa Clara, CA 95054
14499114   KIC         16120 W. Bernardo Drive          San Diego, CA 92127
14499115   KLA−Tencor Corp            P.O Box 742332          Los Angeles, CA 90074
14499116   KMG − Cyantek Corp             Bank One Lockbox No. 21783             Chicago, IL 60673
14499117   KPCB Holdings Inc., as nominee           2750 Sand Hill Road           Menlo Park, CA 94025
14499118   KPCB Holdings, Inc., as nominee           Attn John Denniston          Wen Hsieh          2750 Sand Hill
           Road         Menlo Park, CA 94025
14499119   Kaiser Foundation Health Plan          File 5915         Los Angeles, CA 90074
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14499120   Kamran Manteghi            44 Bernal Way,           San Jose, CA 95119
14499121   KarMic US LLC            1850 N. Greenville Ave. Suite 164            Richardson, TX 75081
14499122   Karver, Jeffrey        7 E. Philadelphia Ave.           Boyertown, PA 19512−1154
14499123   Kathryn Churchill          354 41st. Ave.          San Mateo, CA 94403
14499124   Kavanagh, Richard           401 Ashley Drive           New Lenox, IL 60451−1165
14499125   Kaylaco Enterprises, LLC            4760 Howe Lane            Auburn, CA 95602
14499126   Kearney Boyle & Associates, Inc.             50 California St. Suite 680        San Francisco, CA 94111
14499127   Keith O. Newton          1120 Thomas Street #105             Oak Park, IL 60302
14499128   Kelley Drye & Warren LLP              Treasurer's Dept. 101 Park Ave.          New York, NY 10178
14499129   Kellner, Larry        663 Scout Trail           Anaheim, CA 92807
14499130   Kendall,, Donald         720 Kuhlman Rd.             Houston, TX 77024
14499131   Kent F. Ure Jolyn B. Ure           3766 W. Ridge View Road             Morgan, UT 84050
14499132   Kepware Technologies             PO BOX 579           Portland, ME 04112
14499133   Kevin J. Haslam Sharon K. Haslam, JTWR                8684 Doves Fly Way            Laurel, MD 20723−1248
14499134   Keyence Corporation            Dept LA 22198           Pasadena, CA 91185
14499135   Keystone Business Consultants, LLC               1770 Rockspring Place, Suite 120          Walnut Creek, CA 94596
14499136   Khicha, Sanjay         656 N. Longford Lane             Wichita, KS 67206−1818
14499137   Kikusui America, Inc.           2975 Bowers Avenue Suite 307             Santa Clara, CA 95051
14499138   Kimball, Tirey & St. John LLP             Kenneth D. Schnur          2300 Clayton Road          Suite 1300       Concord,
           CA 94520
14499139   Kinetic Systems, Inc.          48400 Fremont Blvd.           Fremont, CA 94538
14499140   Kipperman, Robert           50 Laura Lane           Morristown, NJ 07960−6425
14499141   Kodiak Roofing Waterproofing, Co               1905 Aviation Boulevard          Lincoln, CA 95648
14499142   Komin, John         119 Selby Lane            Atherton, CA 94027
14499143   Komin, Patricia         119 Selby Lane            Atherton, CA 94027
14499144   Komin, Sr., Robert          119 Selby Lane           Atherton, CA 94027
14499145   Koncsics, Thomas Mathias             1835 Arch Street, Apt. 1601          Philadelphia, PA 19103
14499146   Konica Minolta Sensing Americas, Inc.              Dept. CH 19334          Palatine, IL 60055
14499147   Krayden         1491 West 124th Avenue              Denver, CO 80234
14499148   Krayden Asia Bank            18330 Sutter Blvd,          Morgan Hill, CA 95037
14499149   Krentz, Kurtis        140 Cassia Court            Medina, MN 55340
14499150   Kuhne + Nagel Inc.           10 Exchange Place Floor 19           Jersey City, NJ 07302
14499151   Kulim Golf & Country SDN. BHD                 Jalan Mahang, Kulim Hi−tech Park, 09000            Kedah, Malaysia,
14499152   Kurdex Corp          343 Gibraltar Dr.           Sunnyvale, CA 94089
14499153   Kurtis S. Krentz        140 Cassia Court            Medina, MN 55340
14499154   L&M Precision Sheetmetal, Inc             nc 645 Vista Way          Milpitas, CA 95035
14499155   LAB − PRO, Inc.           1290 Anvilwood Court             Sunnyvale, CA 94089
14499156   LP Glassblowing Inc.           2322 Calle Del Mundo            Santa Clara, CA 95054
14499157   LPD Investments Ltd.            c o Peter L. Palrymple         13451 Belhaven Dr.          Houston, TX 77069−3425
14499158   LPE S.p.a.        8 20021 Bolla           Milan, Italy,
14499159   LPG         701 Atkins Drive           Glandale, CA 91206
14499160   Lapeze, Joelle        304 Park Ridge Drive            River Ridge, LA 70123
14499161   Lapone, Patrick         79 SW 12th Street, 2609           Miami, FL 33130
14499162   Laser Mark's Company             2109 O'Toole Ave Suite S           Milpitas, CA 95131
14499163   Lau, Erin        316 Hillside Ct.          Kingston, NY 12401−7414
14499164   Laube Jr., Donald         57 Brothers Rd.           Wappingers Falls, NY 12590
14499165   Lauffer GmbH & Co. KG               Industriestra e 101        Horb am Neckar, Germany 72160−0000,
14499166   Lawrence Joseph Scardaci & Deborah Ann S                58 Dutchess Hill Rd.          Poughkeepsie, NY 12601
14499167   Lee Evan Belfiglio          12629 NE 2nd Street           Bellevue, WA 98005
14499168   Leidos Engineering, LLC             Attn: John Graff Meditech Corporate Cent            Framingham, MA 01701
14499169   Leman         Nordensvej 17 Taulov DK 7000               Fredericia, Denmark 07000−0000,
14499170   Lenscrafters        14963 Collections Center Dr.            Chicago, IL 60693
14499171   Levitronix Technologies LLC             20 Speen St. Suite 102         Waltham, MA 01701
14499172   Lewis Bass International Inc.          142 N. Milpitas Blvd. Suite 236          Milpitas, CA 95035
14499173   Leybold Optics USA Inc. S&U               539 James Jackson Ave.          Cary, NC 27513
14499174   Liberty Lighting and Fixture Supply             1800 De La cruz Boulevard          Santa Clara, CA 95050
14499175   Liberty Test Equipment            1640 Lead Hill Boulevard Suite 120           Roseville, CA 95661
14499176   Life Safety Associates          1876 Hartog Drive           San Jose, CA 95131
14499177   Lifesprings Group, LLC            c o Steven Kurt Menner           710 Ginger Lane          Franklin Lakes, NJ 07417
14499178   Linde Electronics & Speciality Gases             88299 Expedite Way          Chicago, IL 60695
14499179   Linden Growth Partners            c o Paul Coviello         5109 N. Ocean Blvd, Unit C          Ocen Ridge, FL
           33435
14499180   Ling Zhu         15945 Winesprings Dr.             San Diego, CA 92127
14499181   Ling Zhu*         15945 Winesprings Dr.             San Diego, CA 92127
14499182   Linoleum City, Inc.          c o Fred Stifter        4849 Santa Monica Blvd           Los Angeles, CA 90029−2617
14499183   Lohmann Tapes           3000 Earhart Court, Suite 155            Hebron, KY 41048
14499184   LoneOak Research and Development                 4577 Jaguar Drive        Plano, TX 75024
14499185   Louro, Stephen         1340 Washington Blvd.             Stamford, CT 06902
14499186   Lund Pearson McLaughlin              897 Independence Ave. Suite 1E           Mountain View, CA 94043
14499187   MBT Systems Ltd            23562 NW Clara Lane             Hillsboro, OR 97124
14499188   MC Meteo Control − DOE               1110 Lake Cook Rd. Suite 370           Buffalo Grove, IL 60089
14499189   MCP         3728 Dawn Circle             Union City, CA 94587
14499190   MEI Wet Processing Systems & Services LL                3838 Western Way NE             Albany, OR 97321
14499191   MESSE MUNCHEN GMBH                      Messegel nde,         Munchen, Germany 81823−0000,
14499192   MH Zoller Profit Sharing Plan            2142 SE 12th Avenue           Camas, WA 98607
14499193   MH Zoller Profit Sharing Plan            c o Mark Zoller         2142 SE 12th Avenue           Camas, WA
           98607−2281

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14499194   MOTECH INDUSTRIES INC.                   SCIENCE PARK BRANCH No.2, Da−Shun 9th Rd                      Hsin−Shi, Tainan,
           Taiwan 74145−0000,
14499195   MSA Systems, Inc.            1340 S De Anza Blvd. Suite 103            San Jose, CA 95129
14499196   MSC Industrial Supply Co.            Dept CH 0075           Palatine, IL 60055
14499197   MUHAN Patent & Law Firm                5th Fl. Myeonglim Building 51−8             Seoul, South Korea,
14499198   MUUS & Company LLC                 50 Washington Street, Suite 915           South Norwalk, CT 06854
14499199   MV Systems Inc.            500 Corporate Circle Suite L          Golden, CO 80401
14499200   MaCathel, L.P.          c o James H. Boettcher          346 Felton Drive          Menlo Park, CA 94025
14499201   MacDiarmid, Robert            115 Harris Hollow Road            Charleston, WV 25311
14499202   Mackoul, Robert           112 N. Broadway           South Amboy, NJ 08879
14499203   Madico Inc.         P.O Box 3579           Boston, MA 02241
14499204   Magna Industries           1825 Swarthmore Ave.           Lakewood, NJ 08701
14499205   Magna−Power Electronics, Inc.            39 Royal Road           Flemington, NJ 08822
14499206   Maher, Michael           213 N. Delaplaine Road           Riverside, IL 60546
14499207   Malcarne, Joseph           22 E. Market St.        Rhinebeck, NY 12572−1646
14499208   Mallory Safety and Supply LLC             PO Box 2068           Longview, WA 98632
14499209   Mamour Electronics Co., Ltd            Rm.1609 Qiantang Aviation Mansion Buildi               Hangzhou,
           Zhejiang         China 00031−0000
14499210   Maness Family Trust            28316 Contessa Avenue            Santa Clarita, CA 91350
14499211   Maniar, Parimal B.           11814 Provincial Way           Windermere, FL 34786
14499212   Manitz & Finsterwald Partner            Postfach 31 02 20 D−80102            Munchen, Germany,
14499213   Manohar Lal, MD Contance L. Lal, JTWRO                 1101 Kingswood Drive             Akron, OH 44313
14499214   Manske, James           1203 Washington street           Oshkosh, WI 54901
14499215   Mario Dell'Aera          217 Park Drive          Eastchester, NY 10709
14499216   Mark Detroia         15G Nob Hill           Roseland, NJ 07068
14499217   Mark N. Jacobson            800 W. End Ave. Apt. 13 B            New York, NY 10025
14499218   Mark Ringes and Dawn Ringes, JTWROS                  12 Sleepy Hollow Rd.           Sandy Hook, CT 06482
14499219   Mark W. Lang & Harriet Goldman−Lang, JTW                  53 Wildwood Rd.            Andover, MA 01810
14499220   Mark W. Lang & Harriet Goldman−Lang, JTW                  53 Wildwood Road             Andover, MA 01810−5728
14499221   Markets and Markets            17304 Preston Road, Suite 800           Dallas, TX 75252
14499222   Martha Parrish Irrev Trust FBO Tooey Mil              1590 SW Kohl Dr.           White Salmon, WA 98672−8031
14499223   Mason D. Corn & Helen H. Corn, JTWROS                  61 Dreyer Avenue           Staten Island, NY 10314
14499224   Mason D. Corn & Helene H. Corn, JTWROS                  61 Dreyer Ave           Staten Island, NY 10314−4260
14499225   Mass Precision          2110 Oakland Rd.           San Jose, CA 95131
14499226   Master CAD Designs             13222 Hidden Valley Rd.            Grass Valley, CA 95949
14499227   Matsusada Precision           2570 N. First Street Suite 200          San Jose, CA 95131
14499228   Matt Schneider          19 West Orange Grove            Sierra Madre, CA 91024
14499229   Matthew T. Reed            10504 E. Ayesbury St.          Wichita, KS 67226
14499230   Matthias Gelber          B−13−5 Megan Avenue II              No.12 Jalan Yap Kwan Seng            Kuala Lumpur, Malaysia
           50450−0000,
14499231   Max Michelson Living Trust             70 Seminary Ave, 283            Auburndale, MA 02466
14499232   Max−Planck−Innovation GmbH                MarstallstraBe 8          Munchen, Germany 80539−0000,
14499233   MaxVac Inc.          601−G North 1st. St.          Patterson, CA 95363
14499234   Mc Calmont Engineering             1624 Dell Ave.         Campbell, CA 95008
14499235   Mc Elligot Consulting           41547 Chadbourne Dr.            Fremont, CA 94539
14499236   McCampbell Analytical             1534 Willow Pass Rd.           Pittsburg, CA 94565
14499237   McDermid−Grupp, Daniel              1525 SE Ramona St.            Portland, OR 97202
14499238   McKinney, Rick            2513 McCallum Drive            Austin, TX 78703−2520
14499239   McLauchlan, Joseph            8739 Terra Mont Way             San Antonio, TX 78255
14499240   McMaster−Carr            P.O. Box 7690          Chicago, IL 60680
14499241   Mehrdad Moslehi            956 Stanley Avenue           Los Altos, CA 94024
14499242   Melilli, Salvatore         16 Silverleaf Way         Manalapan, NJ 07726
14499243   Melton, Jim         3200 Quail Springs Pkway             Oklahoma City, OK 73134
14499244   Merriam, John          6933 Milner Mountain Ranch Road               Fort Collins, CO 80526−4575
14499245   Met One Instruments            1600 NW Washington Blvd              Grants Pass, OR 97526
14499246   Metalcraft, Inc.        3360 9th Street S.W.          Mason City, IA 50401
14499247   Mettler Toledo         PO Box 100682            Pasadena, CA 91189
14499248   Micarta Composite Material Trading Co Lt              916−917, Building#1 58 East Xinjian Road           Shanghai, China
           00020−1199
14499249   Michael A. Santoro and Christine E. Sant            18 Old Fire Road          Trumbull, CT 06611
14499250   Michael Bernstein Marilyn Bernstein, J            71 Elm Street         Holliston, MA 01746
14499251   Michael Carroll Sheila Carroll, JTWROS              3919 Happy Valley Rd.            Lafayette, CA 94549−2423
14499252   Michael D. Grassi           12 Stonebridge Lane          Pittsford, NY 14534
14499253   Michael J Wingert           140 Wilder Avenue           Los Gatos, CA 95030
14499254   Michael J. Spezia          46 Bellerive Acres         Saint Louis, MO 63121
14499255   Michael L. Tyler & Melanie L. Tyler, JTW              211 Pleasant Street         Mount Pleasant, TN 38474−1519
14499256   Michael L. Tyler & Melanie L. Tyler, JTW              703 N. Main Street          Mt. Pleasant, TN 38474
14499257   Michael Maher           213 N. Delaplaine Rd.          Riverside, IL 60545
14499258   Michael P. Kinzer, Jr. Kimberly Kinzer            3191 Foster Chapel Rd.           Columbia, TN 38401−7105
14499259   Michael Sliger         19716 SE 23rd Street           Sammamish, WA 98075
14499260   Michael Snow           1308 Huddson Street Apt. 2R             Hoboken, NJ 07030
14499261   MicroTech Systems, Inc            49040 Milmont           Fremont, CA 94538
14499262   Microlease         25841 Industrial Blvd. Suite200            Hayward, CA 94545
14499263   Microsafe         854 Hilmar Street          Santa Clara, CA 95050
14499264   Mike Cannon           7912 Cava Place          Austin, TX 78735
14499265   Milan Drubny          264 Coral Dr.          Pittsburg, CA 94565
14499266   Millennium Trust Co., LLC Custodian FBO                1 Cumberland Ct           Huntington, NY 11743−3876
14499267   Millennium Trust Co., LLC Custodian FBO                1987 Brentwood Lane E.            Wheaton, IL 60189
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14499268   Millennium Trust Co., LLC Custodian FBO            316 Hillside Ct.       Kingston, NY 12401
14499269   Millennium Trust Co., LLC Custodian FBO            3332 N. Woodlawn Ave           Metairie, LA 70006
14499270   Millennium Trust Co., LLC Custodian FBO            5635 N. Pennsylvania Street         Indianapolis, IN
           46220−3025
14499271   Millennium Trust Co., LLC Custodian FBO            906 Wimbledon Blvd.          Alexandria, LA 71303−2546
14499272   Millennium Trust Co., LLC Custodian Mela           1225 Oakmont Dr.          Flossmoor, IL 60422
14499273   Millennium Trust Company, LLC Cust FBO A              109 Parkway Court          Fond Du Lac, WI 54935−3809
14499274   Millennium Trust Company, LLC Cust FBO A              1590 SW Kohl Dr.          White Salmon, WA 98672−8031
14499275   Millennium Trust Company, LLC Cust FBO A              1741 W. Division St. 201         Chicago, IL 60622
14499276   Millennium Trust Company, LLC Cust FBO A              4112 Hidden Canyon Cove            Austin, TX 78746−1257
14499277   Millennium Trust Company, LLC Cust FBO B              41 Country Fair Lane        Saint Louis, MO 63141
14499278   Millennium Trust Company, LLC Cust FBO B              555 N. Artesian, J       Chicago, IL 60642
14499279   Millennium Trust Company, LLC Cust FBO C              1600 Berry Drive         Wilmington, DE 19808−3616
14499280   Millennium Trust Company, LLC Cust FBO D              18 Newton Road          Westminster, MA 01473
14499281   Millennium Trust Company, LLC Cust FBO D              19 Hunter Lane         Canton, MA 02021−1731
14499282   Millennium Trust Company, LLC Cust FBO D              2583 Plum Tree Court          Vienna, VA 22181
14499283   Millennium Trust Company, LLC Cust FBO D              499 Thornall Street, 5       Edison, NJ 08837−2267
14499284   Millennium Trust Company, LLC Cust FBO D              61722 193rd St.        Litchfield, MN 55355−6461
14499285   Millennium Trust Company, LLC Cust FBO E              11 River Road        Norwalk, CT 06850
14499286   Millennium Trust Company, LLC Cust FBO G              48 East River Acres Road          Washington, NC 27889
14499287   Millennium Trust Company, LLC Cust FBO G              61 Jacks Hollow         Alex City, AL 35010−8644
14499288   Millennium Trust Company, LLC Cust FBO G              703 Edinburgh Drive         Columbia, TN 38401−5307
14499289   Millennium Trust Company, LLC Cust FBO H              440 Hilltop Drive        White Lake, MI 48386−2325
14499290   Millennium Trust Company, LLC Cust FBO J             1 N. Bishop Street, Apt. 4       Chicago, IL 60607
14499291   Millennium Trust Company, LLC Cust FBO J             102 Wildwood Circle          Columbia, TN 38401−5803
14499292   Millennium Trust Company, LLC Cust FBO J             1906 W. Barry Avenue           Chicago, IL 60657
14499293   Millennium Trust Company, LLC Cust FBO J             2000 Swan Ln.         Elgin, IL 60123−2580
14499294   Millennium Trust Company, LLC Cust FBO J             205 Habersham Road           Columbia, TN 38401
14499295   Millennium Trust Company, LLC Cust FBO J             3739 Wisconsin Avenue           Berwyn, IL 60402
14499296   Millennium Trust Company, LLC Cust FBO K              3368 Highway 280 South, 205           Alex City, AL 35010
14499297   Millennium Trust Company, LLC Cust FBO L              2714 27th Street, NW         Washington, DC 20008
14499298   Millennium Trust Company, LLC Cust FBO L              5230 Mercier St.        Kansas City, MO 64112−2343
14499299   Millennium Trust Company, LLC Cust FBO M               1530 W. Cortez St., Apt. 1        Chicago, IL 60642
14499300   Millennium Trust Company, LLC Cust FBO M               53 Wildwood Road          Andover, MA 01810−5728
14499301   Millennium Trust Company, LLC Cust FBO M               71 Elm Street       Holliston, MA 01746
14499302   Millennium Trust Company, LLC Cust FBO R              11803 Regency Pine Drive           Cypress, TX
           77429−7438
14499303   Millennium Trust Company, LLC Cust FBO R              2010 W. Leota Street        North Platte, NE 69101−6357
14499304   Millennium Trust Company, LLC Cust FBO R              2511 Lawson Glen Rd.          Glenview, IL 60026
14499305   Millennium Trust Company, LLC Cust FBO R              333 W. Hubbard Street, Apt. 617         Chicago, IL 60654
14499306   Millennium Trust Company, LLC Cust FBO T              102 Wildwood Circle         Columbia, TN 38401−5803
14499307   Millennium Trust Company, LLC Cust FBO V              1306 Larrabee Ln.         Northbrook, IL 60062
14499308   Millennium Trust Company, LLC Cust FBO W               15305 Ledgewood Dr.          Redding, CA 96001−8740
14499309   Millennium Trust Company, LLC Cust FBO W               1590 SW Kohl Dr.          White Salmon, WA 98672
14499310   Millennium Trust Company, LLC Cust FBO W               2485 Knob Creek Rd.          Columbia, TN 38401−1434
14499311   Millennium Trust Company, LLC Cust FBO W               510 Gulf Shore Drive, Unit 4        Destin, FL
           32541−3026
14499312   Millennium Trust Company, LLC Cust FBO W               910 N. Lake Shore Drive, Apt 915          Chicago, IL
           60611
14499313   Miller, Howard        4851 Bonita Bay Blvd 2303           Bonita Spring, FL 34134
14499314   Miller, Sheldon        31731 Northwestern Hwy., #280           Farmington Hills, CA 48334
14499315   Mimi Le         P.O. Box 103        Union City, CA 94587
14499316   Minarik Corporation        62303 Collections Center Drive          Chicago, IL 60693
14499317   MindShift        P.O Box 200105 P         Pittsburg, PA 15251
14499318   Minesh Kumar Patel Diptiben M. Patel,         18621 Avenue Capri          Lutz, FL 33558
14499319   Minuteman Press of Mountain View           618 National Avenue          Mountain View, CA 94043
14499320   Minuteman Press of Santa Clara         2368 Walsh Av. Suite B          Santa Clara, CA 95051
14499321   Mique, Edgardo         39800 Fremont Blvd, #263          Fremont, CA 94538
14499322   Mistui Chemicals America         PO BOX 645165            Pittsburgh, PA 15264
14499323   Misumi, Inc.       26797 Network Place          Chicago, IL 60673
14499324   Mohammed Islam           1881 Gillian Way         San Jose, CA 95132
14499325   Mohammed Islam*           1881 Gillian Way         San Jose, CA 95132
14499326   Moore Engineering         15 Kimble Ave.         Los Gatos, CA 95030
14499327   Moore, Michael         3338 Peachtree Rd. NE         Atlanta, GA 30326
14499328   Morris, R. David        506 N. Grove Avenue          Oak Park, IL 60302−1654
14499329   Morrison, Edmond Allen         50 Angus Lane          Warren, NJ 07059
14499330   Mortensen Investments, Ltd.        c/o Jens Mortensen         12301 N. Rooth Rd.          McAllen, TX 78504
14499331   Moslehi, Dorsa        956 Stanley Ave        Los Altos, CA 94024
14499332   Moslehi, Mehrdad         956 Stanley Ave         Los Altos, CA 94024
14499333   Moslehi, Roxanne         956 Stanley Ave        Los Altos, CA 94024
14499334   Moss Adams LLP           PO Box 748369          Los Angeles, CA 90074
14499335   Motech Industries Inc.       Science Park Branch No.2, Da−Shun 9th Rd            Hsin−Shi, Tainan         TAiwan
           74175
14499336   Mouser Electronics        P.O Box 99319         Fort Worth, TX 76199
14499337   Mr. Chau's Electrical & Networking         P.O Box 580338          Elk Grove, CA 95758
14499338   Mr. Tint       350 Kiely Blvd, Suite 5       San Jose, CA 95129
14499339   Multi−Contact USA          100 Market St.        Windsor, CA 95492
14499340   Murdoch, Brad         1070 Hymettus Avenue           Encinitas, CA 92024
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14499341   Murdock Martell            P.O BOX 20626            San Jose, CA 95160
14499342   Murray Percival           2014 Brown Rd.            Auburn Hills, MI 48326
14499343   NCD Investors           649 San Ramon Valley Blvd              Danville, CA 94526
14499344   NCD Investors           c o Northgate Capital           649 Ramon Valley Boulevard            Attn Craig
           Venable         Danville, CA 94526
14499345   NCI         3700 Annapolis Lane Suite 145              Plymouth, MN 55447
14499346   NOR−CAL CONTROLS, INC                     1952 Concourse Dr.           San Jose, CA 95131
14499347   Nadarajah, Ganga            18910 Harleigh Dr.           Saratoga, CA 95070
14499348   Nadarajah, Pradeepa            18910 Harleigh Dr.          Saratoga, CA 95070
14499349   Nadeau, Steven           839 Lochmoor Blvd.             Grosse Pointe, MI 48236−1756
14499350   Nag, Dipti         18910 Harleigh Dr.           Saratoga, CA 95070
14499351   Nag, Siddhartha           18910 Harleigh Dr.           Saratoga, CA 95070
14499352   Nag, Soma          18910 Harleigh Dr.            Saratoga, CA 95070
14499353   Nag−Fernandes, Sharbari             18910 Harleigh Dr.           Saratoga, CA 95070
14499354   Nagase America Corporation*              P.O Box 826715            Philadelphia, PA 19182
14499355   Nakamura & Partners             Kyobashi Branch 1−7−3, Ginza, Chuo−ku                Tokyo, Japan,
14499356   Nanolab Technologies, Inc.            1708 McCarthy, Blvd.            Milpitas, CA 95035
14499357   Narayana Pillai          1230 Willow Point Dr.            Murphy, TX 75094
14499358   National Instruments           PO Box 202262             Dallas, TX 75320
14499359   Navesink Promotion, LLC              PO Box #354            Navesink, NJ 07752
14499360   Nealis, James         107 Vista Lane          Duck Key, FL 33050−3739
14499361   Nelis, Jeanna         1459 Jakes Place          Hellertown, PA 18055−2642
14499362   Neo Solar Power Corp.             Hsinchu Science Park Hsinchu             Taiwan 300        Peoples Republic of
           China
14499363   Nestola, Joseph          20 Cortelyou Road           Merrick, NY 11566−3724
14499364   Netzsch Instruments North America, LLC                129 Middlesex Turnpike            Bulington, MA 01803
14499365   Neutralization Technology, Inc.            2485 A Autumnvale Drive              San Jose, CA 95131
14499366   New Line Printing Technologies Solutio              c o John Luciano           1011 Route 22 East        Mountainside, NJ
           07092
14499367   Newark element14             33190 Collection Center Dr.            Chicago, IL 60693
14499368   Newport Corporation             13976 Collections Center Drive            Chicago, IL 60693
14499369   Newton, Keith           1120 Thomas St., 105            Oak Park, IL 60302
14499370   Nexolon Co. LTD             SINSAYEO ADD: 28−1 PURUN BUILDING                         Jamwon−dong, South Korea,
14499371   Niecestro, Robert          120 Pinecrest Lake           Pocono Pines, PA 18350
14499372   Nikon Metrology Inc.            12701 Grand River Avenue              Brighton, MI 48116
14499373   Nilfisk−Advance America              PO Box 200973            Pittsburg, PA 15251
14499374   Noel Technologies            1510−C Dell Avenue             Campbell, CA 95008
14499375   Noerr LLP          Paul−Schwarze−Strabe 2 0109               Dresden, Germany,
14499376   Nor−Cal Moving Service              3129 Corporate Place           Hayward, CA 94545
14499377   NorSun          Corp Karenslyst Alle 9C            Oslo, Norway 9C 0278,
14499378   Nordson EFD LLC              21076 Network Place            Chicago, IL 60673
14499379   Nordson Sealant Equipment              45677 Helm Street           Plymouth, MI 48170
14499380   O. Lynn Roach Jr. & Tammy Jane Roach, JT                  2089 Hunters Crest Way           Vienna, VA 22181
14499381   OK Container Sales            2707 E. Valley Blvd #305 ,            West Covina, CA 95035
14499382   OMICRON Electronics Corp. USA                 12 Greenway Plaza, Suite 1510             Houston, TX 77046
14499383   OPS − CON Solutions, LLC               Solutions, LLC 29752 Running Deer Lane               Laguna Niguel, CA 92677
14499384   ORG Chem Group               2406 Lynch Rd.           Evansville, IN 47711
14499385   Oak Creek Properties / Istar          18301 Von Karman Ave.               Irvine, CA 92612
14499386   Oak Creek Properties, LLC             18301 Von Karma             Irvine, CA 92612
14499387   Ocean Optics          PO Box 636419            Cincinnati, OH 45263
14499388   Offiice Depot         615 Colman Ave.             San Jose, CA 95110
14499389   Oliver, David         40 Homer Place            Metuchen, NJ 08840
14499390   Omega Engineering Inc             26904 Network Place            Chicago, IL 60673
14499391   Onaway LLC            1 Metrotech Ctr. 23rd Fl            Brooklyn, NY 11201
14499392   Onconference           POBOX 33087             Detroit, MI 48232
14499393   Ophir−Spiricon, LLC             3050 N. 300 West.           North Logan, UT 84341
14499394   OptiWorks          3400 Gateway Blvd.             Fremont, CA 94538
14499395   Optical Associates Inc.          685 River Oaks Parkway             San Jose, CA 95134
14499396   Opus Bank           19900 MacArthur Blvd. 12th floor,             Irvine, CA 92612
14499397   Opus Bank           Andrew Jarvis           FVP − Sr. Special Credits Officer          19900 MacArthur Blvd., 12th
           Flr.       Irvine, CA 92612
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14499399   PCS Ink & Toner            379 Jacklin Road           Milpitas, CA 95035
14499400   PG&E          PO BOX 997300              Sacramento, CA 95899−7300
14499401   PG&E CFM/PPC Department                  885 Embarcadero Dr.            West Sacramento, CA 95605
14499402   PPM, Inc.         326 Main St. Unit 11           Fremont, NH 03044
14499403   PTR Manufacturing, Inc.            33390 Transit Ave            Union City, CA 94587
14499404   PV Measurements, Inc.             245 Mill Road Suite 145           Point Roberts, WA 98281
14499405   Pachulski Stang & Jones LLP             15th Floor          San Francisco, CA 94111
14499406   Pacific Panels Inc.         74 98th Ave          Oakland, CA 94603
14499407   Pacific West Security, Inc.          1587 Schallenberger Road             San Jose, CA 95131
14499408   Pal Sales CT S&U             101 Main Street South           Bethlehem, CT 06751
14499409   Pal Sales TX S&U             Mercury Avenue            Duncanville, TX 75137
14499410   Paragon D&E            5225 33rd St. SE          Grand Rapids, MI 49512
14499411   Parissidi, Tom         11 The Mast           E. Islip, NY 11730
14499412   Park IP Translations          241 East 4th St. Suite 207          Frederick, MD 21701
14499413   Patent Arts         P.O Box 2291           Arlington, VA 22201
14499414   Patents Ink         3635 Old Court Road, Suite 610             Baltimore, MD 21208
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                                                               19
14499415   Patrick J. Lapone          79 SW 12th Street #2609            Miami, FL 33130
14499416   Patrick M. Barberich and Monica Barberic               8315 Lake Burden Circle          Windermere, FL 34786
14499417   Pavit Singh        310 Palacio Espada Court             San Jose, CA 95116
14499418   Pega Precision, Inc.         18800 Adams Ct             Morgan Hill, CA 95037
14499419   Pelletier, Michael         2843 Ashwood Road              Columbia, TN 38401−6011
14499420   Pellets LLC         63 Industrial Drive          North Tonawanda, NY 14120
14499421   Peninsula Hauling & Demolition Inc.              839 Cherry Lane          San Carlos, CA 94070
14499422   Pepe, Ronald          296 Miller Road           Bethany, CT 06524−3200
14499423   Perry Sutaria         6 Buckingham Ct.            Morristown, NJ 07960
14499424   Peter DeNapoli          10294 Lexington Estates Blvd             Boca Raton, FL 33428
14499425   Peter M. Colley and Mary Theresa Colley,               4415 Pemberton Cv.          Johns Creek, GA 30022
14499426   Pfeiffer Vacuum, Inc.          2400 Forbes Drive, Suite 200            Austin, TX 78754
14499427   Phoenix Contact           P.O. Box 4100           Harrisburg, PA 17111
14499428   Photo Stencil, LLC           PO Box 912454            Denver, CO 80291
14499429   Photon Europe GmbH              J licher Str. 376 5207         Aachen, Germany,
14499430   Photonics Industries International, Inc.          390 Central Ave.          Bohemia, NY 11716
14499431   Pillsbury, Winthrop, Shaw, Pittman LLP              PO Box 742262            Los Angeles, CA 90074
14499432   Pintas IP Group          No.19 Jalan SS1/36, 47300 Petaling Jaya             Darul Ehsan, Malaysia,
14499433   Plasmatreat USA, Inc.           2541 Technology Drive Suite 407             Elgin, IL 60124
14499434   Platinum Facility Services           1530 Oakland Rd. #150            San Jose, CA 95112
14499435   Plex Systems, Inc.          Dept. CH 16997            Palatine, IL 60055
14499436   Port Plastics        550 E. Trimble Rd. #A            San Jose, CA 95131
14499437   Power−IO          537 Braemar Ave.             Naperville, IL 60563
14499438   Powermatic Associates Inc.             1057 Serpentine Lane          Pleasanton, CA 94566
14499439   Powernet Global Services, Inc            28437 Satellite St.         Hayward, CA 94545
14499440   Pranav Anabalagan            803 Lexington St.          Milpitas, CA 95035
14499441   Praxair Distribution, Inc.         195−Praxair Distribution, Inc. Dept LA 2           Pasadena, CA 91185
14499442   Praxair Surface Technologies, Electronic             Atlanta, GA 30384
14499443   Precitec       28043 Center Oaks Ct.             Wixom, MI 48393
14499444   Press Metal Berhad           Lot 6464, Batu 5 3/4; Jalan Kapar, Semen            Selangor Darul Ehsan, Malaysia
           aysia,
14499445   PricewaterhouseCoopers LLP               P.O. Box 514038           Los Angeles, CA 90051
14499446   PricewaterhouseCoopers LLP M                Suite 2−4, Level 2, Tower Block Menara M            Kuala Lumpur, Malaysia
           50490−0000,
14499447   Principal Service Solution Inc.           4285 Spyres, Way Ste #2           Modesto, CA 95356
14499448   Pro Tech Consulting & Engineering              1208 Main St.          Redwood City, CA 94063
14499449   ProExhibits         48571 Milmont Dr.             Fremont, CA 94538
14499450   ProTemp Mechanical, Inc.             3350 Scott Blvd. Bldg. 3          Santa Clara, CA 95054
14499451   ProTemp Products, Inc            3511 Thomas Rd. Unit 4             Santa Clara, CA 95054
14499452   Probelogic        18885 Lundy Ave Ste. 101               San Jose, CA 95131
14499453   Process Materials, Inc.         5625 Brisa Street Suite A           Livermore, CA 94550
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14499455   Professional Plastics         2175 Kruse Drive            San Jose, CA 95131
14499456   Promoto Marketing            300 Union Ave. #26            Campbell, CA 95008
14499457   Provel Precision          35263 Fircrest St., Suite C         Newark, CA 94560
14499458   Prudential Cleanroom Services             PO Box 11210            Santa Ana, CA 92711
14499459   Pumill, Rick         510 Lydia Ln           Wyckoff, NJ 07481
14499460   QC Graphics, Inc.           1501 N. Plano Road Suite 300            Richardson, TX 75081
14499461   Quadrant Plastic Composites             21800 Haggerty Road Suite 305            Northville, MI 48167
14499462   Quantum Clean            1900 AM Drive, Suite 200             Quakertown, PA 18951
14499463   Quincy Compressor             241 West A St.          Dixion, CA 95620
14499464   R and K Machining            32 Willow St. #3           Redwood City, CA 94063
14499465   R. David Morris           506 N. Grove Avenue             Oak Park, IL 60302
14499466   RBC Capital Markets LLC Cust FBO Bruce M                    10 Pheasant Ridge Road          Newtown, CT 06470
14499467   RDRJ, LP          c/o Rich McKinney             2513 McCallum Dr.            Austin, TX 78703−2520
14499468   RENA Technologies GmbH                  H henweg 1          G tenbach, Germany 78148−0000,
14499469   RETC LLC            46457 Landing Pkway              Fremont, CA 94538
14499470   RKI Instruments, Inc           33248 Central Ave.            Union City, CA 94587
14499471   RLA Insurance           211 Congress St. 8th Floor            Boston, MA 02110
14499472   RMB Solexel Investors, L.P.             201 Main St., Suite 1000          Fort Worth, TX 76102
14499473   Rabbit Office Automation             904 Weddell Ct.          Sunnyvale, CA 94089
14499474   Rachels,, William          1005 Manchester Avenue              Norfolk, VA 23508−1242
14499475   Rack Space Managed Hosting               PO Box 730759            Dallas, TX 75373
14499476   Rahim Kavari           3789 Acapulco Drive            Campbell, CA 95008
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14499478   Rajiv Thandani           48980 Tulane Drive           Fremont, CA 94539
14499479   Rakesh Amin Living Trust              333 W. Hubbard St., Apt. 617           Chicago, NY 60654
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14499481   Rametra, Amit           27 Riesling Court          Commack, NY 11725−1735
14499482   Raser, Thomas McKim              531 W. 44th Street           Ashtabula, OH 44004−6809
14499483   Rattle, Benjamin          3232 Blaisdell Ave. #2           Minneapolis, MN 55408
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14499485   ReadiTECH           649 Mission St. 5th fl           San Francisco, CA 94105
14499486   Reed, Matthew           10504 E. Ayesbury St.            Wichita, KS 67226−4508
14499487   Register Recruiting, Inc.          4210 N. 26th          St. Boulder, CO 80304
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14499489   Renewable Energy & Cleantech Law Group                  39 Quail Court, Suite #306         Walnut Creek, CA 94596
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14499491   Reutter, Robert        815 Hagadom Rd.            Mason, MI 48854
14499492   RhinoTech Supplies, Inc.           2075 Main St. Suite #40         Sarasota, FL 34237
14499493   Rhoda Ann Miller Declaration of Trust           910 N. Lake Shore Drive, Apt 915             Chicago, IL 60611
14499494   Richard A. Buckheim Susan Bailey, JTWR               900 Johnson St.         Key West, FL 33040−4746
14499495   Richard Bush          3525 Walworth Rd           Marion, NY 14505
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14499497   Richard D. Fitzgerald Judy A. Fitzgera          9712 Charles Street         Omaha, NE 68114−2124
14499498   Richard J. Hall Trust        758 NE Harbour Drive             Boca Raton, FL 33431
14499499   Richard J. Kavanagh          401 Ashley Drive           New Lenox, IL 60451
14499500   Richard Otto Wahlgren Trust           17750 Camino De Yatasto             Pacific Palisades, CA 90272
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14499503   Ridout Plastics dba ePlastics − DOE           5535 Ruffin road         San Diego, CA 92123
14499504   Rigel, Ernest        11507 Club Rd.          Cedar Rapids, IA 52404−9142
14499505   Rinaldo, Michael          1271 Cedar Avenue           Mountainside, NJ 07092
14499506   Riv Inc. S&U          PO Box Inc.         Merrimack, NH 03054
14499507   Riyadh Valley Company             c o Abdelhakim Hammach King Saud Univers                P.O. Box 90076         Riyadh
           11613 Saudi Arabia
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14499518   Robert J. Reutter        815 Hagadorn Rd.           Mason, MI 48854
14499519   Robert J. Viani        994 Salt Point Turnpike          Pleasant Valley, NY 12569
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14499521   Robert R. Crawford Revocable Trust            8830 E. Shannon Way Court             WIchita, KS 67206
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14499523   Robert W. Kastenschmidt            8602 Ashridge Park Drive           Springfield, TX 77379
14499524   Rockwell Laser Industries           7754 Camargo Rd.           Cincinnait, OH 45243
14499525   Rogers, Dyke          323 Denver Avenue           Dalhart, TX 79022
14499526   Rohm and Haas Electronic Materials LLC              P.O. Box 741793          Atlanta, GA 30374
14499527   Roland G. Chew, DDS             39055 Hasting St. STE 203           Fremont, CA 94538
14499528   Ronald Blass         21 Valley View Road           Hyde Park, NY 12538
14499529   Ronald C. Arndorfer & Joan C. Arndorfer,            5656 Grove Terrace           Greendale, WI 53129
14499530   Ronald C. Arndorger & Joan C. Arndorger,             5656 Grove Terrace           Greendale, WI 53129−1553
14499531   Ronald L. Asher          2010 W. Leota Street          North Platte, NE 69101
14499532   Ronald S. Bewersdorff Revocable Living T             15500 Chadwick Rd.            Portland, MI 48875
14499533   Ronald S. Bewersdorff Revocable Trust            c/o Ronald S. Bewersdorff           15500 Chadwick Rd.           Portland,
           MI 48875
14499534   Roofing Supply Group            4342 Dudley Blvd           McClellan Park, CA 95652
14499535   Roofing Supply Group SJ            P.O BOX 740914            Los Angeles, CA 90074
14499536   Roth & Rau AG            An der Baumschule 6−8 Hohenstein−Ernstth              Ernstthal, Germany,
14499537   Royal Adhesives & Sealants LLC            PO BOX 74745             Cleveland, OH 44194
14499538   Ryan Herco         Flow Solutions PO Box 842318               Boston, MA 02284
14499539   SABIC IP          9930 Kincey Ave. 2nd Floor            Huntersville, NC 28070
14499540   SAS Institute Inc.        PO Box 406922           Atlanta, GA 30384
14499541   SCBA Safety Check, Inc.            PO Box 610081            Redwood City, CA 94061
14499542   SEIA Membership            600 14th Street NW           Suite 400 Washington, DC 20005
14499543   SEKO          1100 Arlington Heights Rd.           Suite#600 Itasca, IL 60143
14499544   SGS Accutest, Inc.         PO BOX 2506            Carol Stream, IL 60132
14499545   SM Innotech          KG Vennweg 18            Bocholt, Germany 46395−0000,
14499546   SMH, LLC           304 McConnell          Lyons, CO 80540
14499547   SPTS Technologies Inc. (SPTS)            1150 Ringwood Court            San Jose, CA 95131
14499548   SPV Market Research            1393 Courtyard Dr.           San Jose, CA 95118
14499549   START International           4270 Airborn Drive           Addison, TX 75001
14499550   SV Solution Centric Sdn Bhd            D6−3−12 Sentul East Jalan Sentul 51100            Kuala Lumpur, Malaysia
           aysia,
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14499553   Sadin, Art        2207 Lakeway Drive           Friendswood, TX 77546
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14499555   SafeVision LLC           9715 Olive Boulevard           St. Louis, MO 63132
14499556   Salerno, Gerald         1 Thier Lane        U Saddle River, NJ 07458−1322
14499557   Salesforce.com, Inc.         P.O. Box 203141          Dallas, TX 75320
14499558   San Jose Awning           755 Chestnut Street         San Jose, CA 95110
14499559   San Jose Boiler Works           1585 Schallenberger Rd.          San Jose, CA 95131
14499560   Sanaya Tamboli UTMA              76 Martinique Ave           Tampa, FL 33606
14499561   Sands, Alton Donald          902 Hidden Acres Avenue, Apt. 22             Mt. Pleasant, TN 38474−1028
14499562   Sands, Jerry        401 Hay Long Avenue            Mt. Pleasant, TN 38474−1434
14499563   Sandvik Thermal Process, Inc.           Dept. 0852 PO Box 120011            Dallas, TX 75312
14499564   Santa Clara County − Assessment Appeal             ls Board 70 W. Hedding Street 10th Floor            San Jose, CA
           95110
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14499565   Santa Clara County Tax Collector           70 West Hedding Street          San Jose, CA 95110−1767
14499566   Saraswat, Krishna         12356 Parker Ranch Road            Saratoga, CA 95070
14499567   Saratoga Country Club          21990 Prospect Rd.          Saratoga, CA 95070
14499568   Sarosh Tamboli UTMA              76 Martinique Ave          Tampa, FL 33606
14499569   Schmid Systems, Inc.          200 Westridge Drive          Watsonville, CA 95076
14499570   Schmid Thermal Systems, Inc            200 Westridge Dr.         Watsonville, CA 95076
14499571   Schmuckal Consulting           166 Jeter St.       Redwood City, CA 94062
14499572   Schuetz Messtechnik GmbH              Rheinstrasse 7a D−14513 Teltow            D−14513 Teltow, Germany,
14499573   Schulte, Thomas          5695 Central Avenue           Indianapolis, IN 46220−3011
14499574   Schunk Carbon Technology             W146 N9300 Held Dr.            Menomonee Falls, WI 53051
14499575   Scott Elizabeth Krowitz, JTWROS             83 Canfield Drive         Stamford, CT 06902
14499576   Scott A. Brody         57 Fairview Street         Huntington, NY 11743
14499577   Screen Semiconductor Solutions Co., Ltd            Tenjinkita−machi 1−1 Teranouch Agaru 4−c           Kamigyo−ku,
           Japan 602−8585,
14499578   Secretary of State        PO Box 944230           Sacramento, CA 94244
14499579   Securitas Security Services, Inc.        2480 N. First Street        San Jose, CA 95131
14499580   Seema R. Dave and Rajesh B. Dave              5221 Westshore Drive          New Port Richey, FL 34652
14499581   Sefar Inc       111 Calumet St.          Depew, NY 14043
14499582   Sekhon, Gurdip Singh          3756 W. Ruby Hill Dr.           Pleasanton, CA 94566
14499583   Sensable Motion Inc.         35263 Fircrest St. Suite         C1 Newark, CA 94560
14499584   Sensor Products, Inc.        300 Madison Ave            Madison, NJ 07940
14499585   Sensovation AG           Markthallenstr. 5 D−78315           Radolfzell, Germany,
14499586   Sentran LLC          4355 Lowell St.         Ontario, CA 91761
14499587   Sentry Air Sytems Inc.         21221 FM 529           Cypress, TX 77433
14499588   Shalwitz−Feuerstein Revocable Trust DTD              1625 E. Claremont Street         Phoenix, AZ 85016
14499589   Shanghai High−Flying Electronics Technol             Room 101,#2Building,No.3000 Longdong Ave             Shanghai,
           China
14499590   Shape Products          1127 57th Avenue          Oakland, CA 94621
14499591   Shashank & Shilpa Upadhye             418 Phillipa Street       Hinsdale, IL 60521
14499592   Shashank & Shilpa Upadhye             418 Phillippa Street       Hinsdale, IL 60521
14499593   Shawn McCaslin           3405 Reims Ct.          Austin, TX 78738
14499594   Sheahan Enterprise LLC            3949 Kite Meadow Dr.          Plano, TX 75074
14499595   Sheldon Miller         31731 Northwestern Highway             Farmington Hills, MI 48334
14499596   Sherman Electric         1202 Kifer Road          Sunnyvale, CA 94086
14499597   Sherwood Partners, Inc.          1100 La Avenida Street, Building A,           Mountain View, CA 94043
14499598   Sid Kresses Lee Kresses, JWROS             1258 Jody Lane NE           Atlanta, GA 30329−3520
14499599   Signature Bank          565 Fifth Avenue,         New York, NY 10017
14499600   Signet Testing Labs         3526 Breakwater Ct           Hayward, CA 94545
14499601   Sigonas Farmers Market            2345 Middlefiled Rd.         Redwood City, CA 94063
14499602   SilPac        1850 Russel Ave          Santa Clara, CA 95054
14499603   Silica Engineering Group           3370 Edward Avenue           Santa Clara, CA 95054
14499604   Silicon Quest International, Inc.        P.O. Box 742673          Los Angeles, CA 90074
14499605   Silicon Valley Disposition          38 South B St. Suite#205         San Mateo, CA 94401
14499606   Silicon Valley Lockmasters           1444 South Main Street          Milpitas, CA 95035
14499607   Silicon Valley Microelectronics          2985 Kifer Road         Santa Clara, CA 95051
14499608   Silver, Andrew         154 Seville Chase          Winter Springs, FL 32708
14499609   Simmitri        PO Box 1778            Morgan Hill, CA 95038
14499610   Singulus Technologies, Inc.          Hanauer Landstrasse 103          Kahl am Main, Germany 63796−0000,
14499611   Singulus USA          P.O Box 5046           New Britain, CT 06050
14499612   Sino Celtic Design         3270 Keller Street Suite 111         Santa Clara, CA 95054
14499613   Sinton Consulting, Inc         4720 Walnut St. Suite 102          Boulder, CO 80301
14499614   Skilton, John        917 Woodward Dr.            Madison, WI 53704−2239
14499615   Sliger, Michael        19716 SE 23rd St.          Sammamish, WA 98075
14499616   Smartech         3120 Latrobe Dr. Unit 260          Charlotte, NC 28211
14499617   Smith − Emery San Francisco            P.O. Box 512333          Los Angeles, CA 90051
14499618   Snow, Michael          1308 Hudson Street, Apt. 2R           Hoboken, NJ 07030
14499619   SoftwareONE, Inc.          20875 Crossroads Circle Suite 1           Waukesha, WI 53186
14499620   SolFuture LLC          1264 Mills St.         Menlo Park, CA 94025
14499621   Solar Energy Trade Shows,LLC             1737 King Street, Suite 600A          Alexandria, VA 22314
14499622   Solar Light        100 East Glen Ave.          Glenside, PA 19038
14499623   Solar World Innovations GmbH             Berthelsdorfer Strabe 11A          Freiberg/Sachsen, Germany
           09599−0000,
14499624   SolarPower International          1737 King Street suite 600A          Alexandria, VA 22314
14499625   Solecon Laboratories, Inc.          770 Trademark Drive          Reno, NV 89521
14499626   Soleras Advance Coating            583 Elm St.        Biddeford, ME 04005
14499627   Solexel, Inc.       1530 McCarthy Blvd.            Milpitas, CA 95035
14499628   Solium, Inc.        222 South Mill Ave. Suite 424           Tempe, AZ 85281
14499629   Solvida Energy Group           1010 Grayson Street Suite#200           Berkeley, CA 94710
14499630   Somers, James          2471 N. 91st Street        Wauwatosa, WI 53226
14499631   SonoLab         2149 E. Pratt Blvd.          Elk Grove Village, IL 60007
14499632   Sorenson, Eric        299 South Main Street, Suite 2200           Salt Lake City, UT 84111
14499633   Speedline Technologies           39392 Treasury Center         Chicago, IL 60694
14499634   Spezia, Michael         46 Bellerive Acres         Saint Louis, MO 63121−4325
14499635   Spire Solar        One Patriots Park         Bedford, MA 01730
14499636   Spirox Cayman Corporation             No. 95 Shuiyan St. Hsunchu 30069           Attn David Sheu       Hsunchu City
           30069 Taiwan
14499637   Spraragen, Christopher          212 Agostino Avenue           Niskayuna, NY 12309
14499638   Sputtering Components           375 Alexander Dr.          Owatonna, MN 55060
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14499639   Stackhouse, Will           2266 Stradella Rd.        Los Angeles, CA 90077−2331
14499640   Stadler, Kevin         1851 Alexander Bell Dr., Ste. 410            Reston, VA 20191−4392
14499641   Standard Industries Inc. f/k/a Building          1361 Alps Road           Wayne, NJ 07470
14499642   Stanford NanoFabrication Facility            P. O. Box 39000          San Francisco, CA 94139
14499643   Stanford University          Dept. 33725 PO Box            San Francisco, CA 94132
14499644   Star Window Cleaners            3294 Meridian Ave.           San Jose, CA 95124
14499645   Starsource Scientific LLC           13010 Research Blvd Suite 225            Austin, TX 78750
14499646   State Water Resources Control Board             PO. Box 1888           Sacramento, CA 95812
14499647   State of Delaware           Division of Corporations PO Box 5509            Binghamton, NY 13902
14499648   Stelluti, John       28 Adela Court           Yorktown Heights, NY 10598
14499649   Stephen E. Bankoff & Marilyn Bankoff, JT               1853 Bishops Green Drive           Marietta, GA 30062
14499650   Stephen Tagge & Neta M. Tagge, JTWROS                   2170 S. Wiggins Ave.         Springfield, IL 62704
14499651   Stephen Tagge & Neta M. Tagge, JTWROS                   One North Old Capital Plaze #200          Springfield, IL
           62706
14499652   Steve Coonen          14790 Mosswood Lane               Grass Valley, CA 95945
14499653   Steve Tieger        964 Amstutz Dr.            San Jose, CA 95129
14499654   Steven C. Derosa and Suzanne Derosa              10391 Creekedge Court           Bonita Springs, FL 34135
14499655   Steven C. Nadeau            839 Lochmoor Blve            Grosse Pointe Woods, MI 48236
14499656   Steven Engineering           PO Box 1029           San Bruno, CA 94066
14499657   Stewart R. Ackerman & Nancy L. Ackerman                  1104 W Broad St         Quakertown, PA 18951
14499658   Stewart R. Ackerman & Nancy L. Ackerman                  1104 W. Broad Street         Quakertown, PA 18951−1228
14499659   Strasburger        300 Convent St. 900            San Antonio, TX 78205
14499660   Stratasys Direct, Inc.        28309 Avenue Croker             Valencia, CA 91355
14499661   Strategic Executive Search           88 Des Voeux Rd, Central, Hong Kong             Hong Kong          China
           564−1−034897−9 SCBLH
14499662   Stuart Updegrove and Christine Updegrove               65 Singing Oaks Drive         Weston, CT 06883−1142
14499663   Sugitani Patent Office          Nishitenma No.11 Matsuya Building 10−8,              Kita−ku Osaka, Japan 530−0047,
14499664   Sun Chemical Corp. S&U              P.O. Box 2193          Carol Stream, IL 60132
14499665   SunChemical Corporation(Do Not use)               5000 Spring Grove Ave           Cincinnati, OH 45232
14499666   SunPower Corporation             Attn General Counsel           77 Rio Robles        San Jose, CA 95134
14499667   Sunpreme          615 Palomar Avenue             Sunnyvale, CA 94085
14499668   Superex         845 Richardson Ct.           Palo Alto, CA 94303
14499669   Surek PV Consulting            540 S. Forest Street, Unit 7−203          Denver, CO 80246
14499670   Susan Peskin, as trustee of The Circle o           119 Selby Lane         Atherton, CA 94027
14499671   Sustain Asia Ltd          Unit 1604, 16/F Technology Park, 18 On L             Hong Kong          Peoples Republic of
           China
14499672   Sutaria, Perry       6 Buckingham Court              Morristown, NJ 07960
14499673   Sutaria, Raj M.         99 Lawrence Hill Road            Cold Spring Harbor, NY 11724
14499674   Svatek, Michael           101 S. Showhorse Drive           Liberty Hill, TX 78642−3932
14499675   Swagelok         3393 West Warren Ave.              Fremont, CA 94538
14499676   Swanson, Marc            1118 Camille Avenue            Deerfield, IL 60015
14499677   Swanson, Susan            8819 E. Bradford Circle          Wichita, KS 67206
14499678   Synova USA           48521 Warm Springs Blvd Suite 314               Fremont, CA 94539
14499679   Systematic Vision           P.O. Box 490          Ashland, MA 01721
14499680   T.H.E. Enterprises, LLC           8400 E. Tipperary Street          Wichita, KS 67206
14499681   T.H.E. Enterprises, LLC           c o Thomas H. Estep            8400 E. Tipperary Street       Wichita, KS
           67206−1839
14499682   TDS Architects           2060 Clarmar Wy. Suite 200            San Jose, CA 95128
14499683   TNT USA Inc.           Dept. 781108           Detroit, MI 48278
14499684   TOK America Coporate Sales Office               P.O Box 45079          San Francisco, CA 94145
14499685   TOYOPLAS HOLDINGS PTE LTD                       20 Mactaggart Road #08−01            Khong Guan Industrial
           Building        Singapore, Singapore 00036−8079,
14499686   TOYOPLAS MANUFACTURING (MALAYSIA) SDN. B                                No. 20, 22 & 24, Jalan Gemilang 1,
           Taman          Ulu Tiram, Malaysia 81800−0000,
14499687   TUV Rheinland PTL, LLC               2210 S. Roosevelt St.          Temple, AZ 85282
14499688   TZS − Zhonghuan Hong Kong Limited                 No.12 East Haitai Road,Huayuan Industria           Tianjin, China
14499689   Takt Times Group            396 Shasta Drive         Palo Alto, CA 94306
14499690   Tandon, Sanjeev           829 S. Knickerbocker Dr.           Sunnyvale, CA 94087
14499691   Tanner's Engraving           135 Race Street         San Jose, CA 95126
14499692   Tarun Wasil Seema Wasil, JWROS                34 Turnberry Court          Dix Hills, NY 11746−5661
14499693   Team Viewer Gmbh              Jahnstr. 30        Goppingen, Germany,
14499694   Techinsights Inc.          3000 Solandt Road          Ottawa, ON, Canada K2K 2X2,
14499695   Techni−Tool, Inc.           1547 N. Trooper Rd. PO Box 1117             Worcester, PA 19490
14499696   Techni−Translate           Marktplatz 5/1 D−73728            Esslingen, Germany,
14499697   Technical Equipment Sales, Inc.            Positas Ct. #119         Livermore, CA 94550
14499698   Technology Partners           100 Shoreline Hwy Building B. , Suite 28           Mill Valley, CA 94941
14499699   Technology Partners Fund VIII, LP             Ira Ehrenpreis         100 Shoreline Hwy         Suite 282, Bldg B.       Mill
           Valley, CA 94941
14499700   Tekscan, Inc.        307 W. First Street          South Boston, MA 02127
14499701   Telegesis        Abbey Barn Business centre, Abbey Barn L               High Wycombe, HP10 9QQ UK
14499702   Telepacific Communications             P.O. Box 509013            San Diego, CA 92150
14499703   Tempress         Radeweg 31 − 8171 MD Va                 Vaassen, The Netherlands,
14499704   Tengku Zambri Tengku Dato' Mahmood                  E102/103, Ground Kelama Parkview             No. 1, Jalan SS6/2 Kelama
           Jaya        47301 Petaling Jaya           Selangor MY Malaysia
14499705   Tenney Environmental             2821 Old Route 15           New Columbia, PA 17856
14499706   TerraUniversal          l 800 S Raymond Ave             Fullerton, CA 92831
14499707   Terry Glenn Tyler Linda Cannon Tyler,              1650 Rising View Lane           Knoxville, TN 37922
14499708   TestEquity LLC            6100 Condor Drive          Moorpark, CA 93021
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14499709   Thandani, Rajiv         48980 Tulare Drive           Fremont, CA 94539
14499710   The Cohen Group           3 Waters Park Dr. Suite 226           San Mateo, CA 94403
14499711   The Gyanchand J. Khicha Revocable Trust              8908 E. Crestwood St.           Wichita, KS 67206−3313
14499712   The John S. Merrick and Jody A. Merrick             c/o John S. Merrick         1851 Alexander Bell Dr., Suite
           410        Reston, VA 20191−4392
14499713   The MathWorks, Inc.           3 Apple Hill Drive          Natick, MA 01760
14499714   The McAlpine Family Revocable Trust              730 Benson Lane           Green Oaks, IL 60048
14499715   The Nag Childrens Trust          18910 Harleigh Dr.           Saratoga, CA 95070
14499716   The Nag Living Trust          18910 Harleigh Dr.           Saratoga, CA 95070
14499717   The Olander Company, Inc.            144 Commercial Street           Sunnyvale, CA 94086
14499718   The Phillip R. Neff Revocable Trust           1440 N. Gatewood Street, 55            Wichita, KS 67206−1253
14499719   The Sangeeta G. Khicha Revocable Trust              1729 N. Laurel Cove          Wichita, KS 67206
14499720   The Stifter Family Sub Trust B          4849 Santa Monica Blvd.            Los Angeles, CA 90029
14499721   The Warren Kim and Amy Palmer Revocable                 c/o Warren Kim           9509 Grove Ridge Avenue          Las
           Vegas, NV 89148−4584
14499722   Therma Corp.          1601 Las Plumas Ave            San Jose, CA 95133
14499723   Thermal Product Services          PO BOX 6057             Hermitage, PA 16148
14499724   Thermo Electron North America LLC               PO Box 712102            Cincinnati, OH 45271
14499725   Thom S Stalcup          2316 Bluebird Drive           Longmont, CO 80504
14499726   Thomas Air System, Inc.          PO Box 1435            Colfax, CA 95713
14499727   Thompson, Arnold           11 Wawona Street            San Francisco, CA 94127
14499728   Thorlabs Inc        56 Sparta Ave.          Newton, NJ 07860
14499729   Three Way         PO Box 1806           Fremont, CA 94538
14499730   Tianjin HuanOu International Silicon           87 chenglin road,hedong district          Tianjin, China
14499731   Todd, John        3586 Wishbone Way              Encinitas, CA 92024−7282
14499732   Tomlin, James          309 W. Morningside Drive            Peoria, IL 61614
14499733   Tony McElligott          41547 Chadboume Drive             Fremont, CA 94539
14499734   Toshiba Financial Service          PO BOX 51043             Los Angeles, CA 95051
14499735   Tovar Industries Inc.        1135 San Felipe Road            Hollister, CA 95023
14499736   Transcontinent Holdings Company, LLC               8300 E. Steeplechase St.          Wichita, KS 67206
14499737   Transcontinent Holdings Company, LLC               c o Pat Do         8300 E. Steeplechase St.        Wichita, KS
           67206−4423
14499738   Travelers        PO BOX 660317             Dallas, TX 75266
14499739   Trent, John       34 Puritan Ln.          Farmingdale, NY 11735−1825
14499740   Triad Electric       P.O. Box 1820           Capitola, CA 95010
14499741   Trinity Capital Fund II, L.P.        2121 W. Chandler Blvd. Ste 103             Chandler, AZ 85224
14499742   Troup, Michael          16022 Brook Trout Lane            Northville, MI 48168
14499743   Troy J. Plumb Kara L. Plumb, JTWROS                1305 S. 93rd Street         Omaha, NE 68124−1230
14499744   Trumpf Huettinger, Inc.         111 Hyde Road            Farmington, CT 06032
14499745   Tu Du         813 Orange Ave.          Sunnyvale, CA 94087
14499746   Turtle Pond Partners, LLC          205 East 63rd St. #16D           New York, NY 10065
14499747   UKP Greentech Holdings            c o Univest Group           P.O. Box 1520          Safat, Kuwait 13016
14499748   UL LLC          75 Remittance Drive Suite#1524             Chicago, IL 60675
14499749   ULTRAGLAS, Inc.             9200 Gazette Avenue            Chatsworth, CA 91311
14499750   UMB HSA Processing             P.O Box 219531            Kansas City, MO 64121
14499751   UPS         28013 Network Place           Chicago, IL 60673
14499752   US Customs and Border Protection            FP&F office JFK Int'l Airport, Bldg. 77,           Jamaica, NY 11430
14499753   USCIS − Dept of Homeland Security              300 North Los Angeles St,           Los Angeles, CA 90012
14499754   Uday Varde         4571 Fairway Ridge            West Bloomfiled, MI 48323
14499755   Ulbrich Specialty Wire Products           75 Remittance Dr. Dept. 3028            Chicago, IL 60675
14499756   Uline        PO BOX 88741            CHICAGO, IL 60680
14499757   Underwood, Phillip          802 Orleans Drive           Ruston, LA 71270−2764
14499758   Uniforce Sales and Engineering           42501 Albrae Street Suite 210           Fremont, CA 94538
14499759   United States Treasury         P. O. Box 7704           San Francisco, CA 94120
14499760   UnitedHealthcare          Dept. 3118         Los Angeles, CA 90084
14499761   Univar USA Inc           PO BOX 740896             Los Angeles, CA 90074
14499762   Univest Group Ltd          c o Univest Group          P.O. Box 1520           Safat, Kuwait 13016
14499763   Upadhye, Shashank           418 Phillippa Street         Hinsdale, IL 60521
14499764   V−Tech Manufacturing            1140 W. Evelyn Avenue             Sunnyvale, CA 94086
14499765   VAC Pump Consulting Inc             1065 Serpentine Suite 300           Pleasonton, CA 95456
14499766   VAT, Incorporated − USA             2161 O'Toole Avenue, Suite 40            San Jose, CA 95131
14499767   VERSUM MATERIALS                  7201 HAMILTON BLVD                  ALLENTOWN, PA 18195
14499768   VWR International LLC            PO Box 640169            Pittsburgh, PA 15264
14499769   Valin Corporation         PO Box 8402            Pasadena, CA 91109
14499770   Valley Oil Company           DEPT #35101 PO Box 39000                San Francisco, CA 94139
14499771   ValueTronics, Inc         1675 Cambridge Dr            Elgin, IL 60123
14499772   Vann, Philip        4119 MacGregor Drive             Columbia, SC 29206−2829
14499773   Vantage Point Photography, Inc.           1140 Walsh Ave           Santa Clara, CA 95050
14499774   Venkat Dukkipati          2561 Palmer Lane           Avon, OH 44011
14499775   Via Mechanics (USA), Inc.           150C Charcot Ave.           San Jose, CA 95131
14499776   Viani, Alan        55 Shadow Lane           Poughkeepsie, NY 12601−6438
14499777   Viani, Robert        994 Salt Point Turnpike           Pleasant Valley, NY 12569
14499778   Victor Duarte        767 Lakehaven Dr.            Sunnyvale, CA 94089
14499779   Victor Duarte*         767 Lakehaven Dr.           Sunnyvale, CA 94089
14499780   Viral Tolat and Henna Shah, JTWROS               57 Jean Dr.         Edgewood Cliffs, NJ 07311
14499781   Viren V.S Rana          101 Andre Court           Los Gatos, CA 95032
14499782   Visionedge Technologies           14 Prince George's Park Si           Park, Singapore 18412−0000,
14499783   Voelker, Jonas         Marsa 1D , Apartment 21            The Wave          Muscat 00000 Oman
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14499784   Vuong Van Bang            2564 Poplarwood Way            San Jose, CA 95132
14499785   W. Frank Morledge Pension Plan            205 N. Washington           Forrest City, AR 72335−3354
14499786   W. Garner McNett           7706 Turnberry Ln.          Dallas, TX 75248
14499787   W2 Systems           106 Cresta Vista Drive         San Francisco, CA 94127
14499788   WRAYS IP           235 St. Georges Terrace          Perth, Western Australia 6000
14499789   WRS Materials          2240 Ringwood Ave.            San Jose, CA 95112
14499790   Wade, Susan          20 Candlewick Way            Colts Neck, NJ 07722
14499791   Wafab International          6161−A Industrial Way           Livermore, CA 94551
14499792   Water System Cleaning            5344 Tilton Ct.        Dublin, CA 94568
14499793   Weber, Ray          27 Zabriskie St.        Jersey City, NJ 07307−2903
14499794   Weissberg, Rudolph           200 Lenox Ct.         Farmingdale, NY 11735
14499795   Welch Business Systems            6081 Meridian Avenue, Suite 70−200             San Jose, CA 95120
14499796   Wells Fargo Bank           Peninsula #1558 400 Hamilton Ave, 1st Fl            Palo Alto, CA 94301
14499797   West Valley Engineering           PO Box 49212           San Jose, CA 95161
14499798   Westly Capital Partners Fund, L.P.          The Westly Group           2750 Sand Hill Road          Menlo Park, CA
           94025
14499799   Westpak, Inc.         83 Great Oaks Blvd.          San Jose, CA 95119
14499800   White Knight Fluid Handling Inc.           187 East 670         South Kamas, UT 84036
14499801   White Oak Global Advisors, LLC             3 Embarcadero Center #550,           San Francisco, CA 94111
14499802   Wienecke          Bei den Kampen 20           Seevetal/ ramelsloh, Germany D−21220,
14499803   Wiley Bonda Trust UTD 9.17.94             4800 Bonvue Ave.           Los Angeles, CA 90027
14499804   William A. Abramson            4820 Bridgewater Rd.          Birmingham, AL 35243
14499805   William Alan Kwapy Jerene Kwapy, JTWRO                  2406 N. Lakeshore Drive           Pacific, MO 63069−4560
14499806   William F. Gumina           21 Lake Walton Road           Wappingers Falls, NY 12590
14499807   William W. Matson & Patricia A. Matson,             3733 Fallen Tree Way           Amelia, OH 45102−1207
14499808   Wojciech Worwag            125 Willow Springs Lane,           APT 104 Goleta, CA 93117
14499809   Woongjin Energy Co. LTD             37, Techno 2−ro, Yuseong−gu Technovale              Daejeon, South Korea,
14499810   Wright, Williams & Kelly           6200 Stonridge Mall Rd. 3rd Floor           Pleasanton, CA 94588
14499811   Wuethrich Investments LLC            204 E. Hinker Rd.          Greenwood, WI 54437
14499812   Wuethrich Investments LLC            c o Tayt Wuethrich          204 E. Hinker Road          Greenwood, WI
           54437−9603
14499813   Wuxi Sveck Technology Co., LTD.              Sunan Road, Shuofang Industial Park            New Wuxi          Peoples
           Republic of China
14499814   Wyle, Claude          275 Battery Street #1300         San Francisco, CA 94111
14499815   Xi'an Longi Silicon Materials Corp.          388,Middle Aerospace Rd., Chang'an Distr             Xi'an,
           00071−0100           Peoples Republic of China
14499816   Xinyi Solar        Unit 1205, 13560 Maycrest Way             Richmod, Canada,
14499817   Xpedx, LLC           PO Box 31001−1382            Pasadena, CA 91110
14499818   Xsys Engineering, Inc.         142 N. Milpitas Blvd. #273           Milpitas, CA 95035
14499819   YKI Patent Attorneys          1−34−12 Kichijoji−honcho Musashino−shi               Tokyo, Japan 180−0004,
14499820   YiYi Ventures LP           205 N Michigan Ave. Suite 3370           Chicago, IL 60601
14499821   Yield Engineering Systems, Inc.          203−A Lawrence Drive            Livermore, CA 94551
14499822   Yusen Logistics (Americas) Inc.          19001 Harborgate Way            Torrance, CA 90501
14499823   ZI Corporate Services Sdn Bhd           Suite 2−4, Level 2, Tower Block Menara M              Kuala Lumpur,
           Malaysia,
14499824   Zachary Holman           318 W. Monte Vista Rd.           Phoenix, AZ 85003
14499825   Zhejiang Renhe Photovoltaic Technology C              99#, Jing er Road, Xinpu Town, Cixi City           Zhejiang,
           00031−5322           Peoples Republic of China
14499826   Zhengdong Fang           119 Quillen Court, Apt 612           Stanford, CA 94305
14499827   Ziegler, Jan       60 Edgewater Drive, 12 F           Coral Gables, FL 33133
14499828   Zipalog Inc − DOE           850 Central Pkway E. Suite160           Plano, TX 75074
14499829   Zlotnick Biomed APC 401K Plan Trust              3525 Del Mar Heights Rd # 139            San Diego, CA
           92130−2199
14499830   Zoom Imaging Solutions            PO BOX 398147            San Francisco, CA 94139
14499831   Zukunftech Corporation           15945 Winesprings Dr.           San Diego, CA 92127
14499832   Zytek        1755 McCarthy Blvd.            Milpitas, CA 95035
14499833   all4−GP(North America) Inc.           345 Mira Loma Ave.            Glendale, CA 91204
14499834   all4−PCB (North America) Inc.           345 Mira Loma Ave.            Glendale, CA 91204
14499835   dba LRT Technologies            02 S.Spring St.        Los Angeles, CA 90061
14499836   dcaaConsulting         235 Thacker Road           Rural Hall, NC 27045
14499837   eSoftware Associates Inc          228 Park Ave S. Unit#28801            New York, NY 10003
14499838   iStar Financial Inc.        P.O Box 100689          Pasadena, CA 91189
14499839   naseba communications FZ LLC              318 West Adams, 18th Floor,           Chicago, IL 60606
14499840   the fair agency gmbh          Schatzbogen 43, D−81829            Munich, Germany,
                                                                                                                       TOTAL: 1373




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